                        THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 IN RE:                                       )       IN CHAPTER 7 PROCEEDINGS
                                              )
 MATTHEW M. MOTIL                             )       CASE NO. 22-10571-aih
                                              )
          Debtor.                             )       JUDGE ARTHUR I. HARRIS
                                              )
                                              )       ADV. PROCEEDING NO.
 DANIELLE HANSEN                              )
 12970 Simsbury Terrace                       )       COMPLAINT OF CREDITORS,
 Fort Myers, Florida 33913                    )       DANIELLE HANSEN AND TOBY
                                              )       OLIVER TO DETERMINE
 and                                          )       DISCHARGEABILITY OF DEBT
                                              )       PURSUANT TO 11 U.S.C. §727
 TOBY OLIVER                                  )
 12371 Villagio Way                           )
 Fort Myers, Florida 33912                    )
                                              )
          Plaintiffs,                         )
                                              )
 vs.                                          )
                                              )
 MATTHEW M. MOTIL                             )
 7011 Chadbourne Drive                        )
 North Olmstead, OH 44070                     )
                                              )
          Defendant.                          )
                                              )
          Notice also to:                     )
                                              )
          Thomas W. Coffey                    )
          Attorney for Debtor                 )
          2430 Tremont Avenue, Front          )
          Cleveland, OH 44113-4635            )
                                              )
          Debtor’s Attorney                   )


       Plaintiffs, Danielle Hansen (“Hansen”) and Toby Oliver (“Oliver”) (collectively,

“Plaintiffs”), for their Complaint against Debtor and Defendant, Matthew M. Motil (“Defendant”,

“Debtor”, or “Motil”), state as follows:

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       1.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334, 28

U.S.C. § 157 (a) and (b)(1), and b(2)(H), and b(2)(I), and b(2)(J), and 11 U.S.C. § 727. This matter

is a core proceeding as defined by 28 U.S.C. § 157.

       2.       This is an adversary proceeding in which Plaintiffs are seeking a determination

that the Defendant is not entitled to a discharge pursuant to 11 U.S.C. §§ 727(a)(2), 727(a)(3), 727

(a)(4), 727(a)(5), and 727(a)(7) and Bankruptcy Rule 4004.

       3.       Hansen is an individual of full age and majority who resides at 12970 Simsbury

Terrace, Fort Myers, Florida 33913.

       4.       Oliver is an individual of full age and majority who resides at 12371 Villagio Way,

Fort Myers, Florida 33912.

       5.       Motil is an individual of full age and majority who resides at 7011 Chadbourne

Drive, North Olmstead, Ohio 44070.

       6.       Motil commenced a bankruptcy proceeding in this Court on March 27, 2022 (the

“Petition Date”) seeking relief under Chapter 7 of the United States Bankruptcy Code.

       7.       NS Equity Cleveland, LLC; NSEM Mansfield 1, LLC; NSEM Mansfield 2, LLC;

and North Shore Equity Sales, LLC (collectively, the “Motil Entities”) are Ohio limited liability

companies with their principal places of business in Cuyahoga County, Ohio, owned and fully

controlled by Motil, such that the Motil Entities are simply the alter ego of Motil.

       8.       Motil exercised complete control over the Motil Entities such that the Motil

Entities had no separate mind, will, or existence of their own.

       9.       Motil, individually, and using the Motil Entities, engaged in a scheme and pattern

of behavior to defraud investors, including Plaintiffs, including but not limited to inducing

Plaintiffs and other creditors, by artifice and trickery to make loans to Motil and the Motil Entities,



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with Motil and the Motil Entities never having the intention to honor their promises or

representations to repay the loans or to record mortgages on property securing the loans. Further,

Motil, individually, and using the Motil Entities, would misrepresent to multiple parties that they

held first mortgages on property to secure loans, and would knowingly and intentionally not record

the mortgages or pay off the loans.

       10.       Upon the solicitations and representations of Motil, Hansen and Motil entered into

an agreement whereby Hansen lent the sum of $50,000.00 for a term of twelve (12) months to a

limited liability company owned or controlled by Motil, namely NS Equity Cleveland, LLC (the

“First Hansen Loan”), which loan was to be secured by a first lien upon certain real property

located at 3593 West 50th Street, Cleveland, Ohio 44102 (the "West 50th Street Property").

       11.       NS Equity was the record title holder of the West 50th Street Property by virtue of

a Warranty Deed from SB Prime Properties LLC to NS Equity Cleveland, LLC, an Ohio Limited

Liability Company and recorded at Instrument No. 201909130459 with the Cuyahoga County,

Ohio Recorder.

       12.       The First Hansen Loan was to be documented with a promissory note and

mortgage to be prepared by Motil and NS Equity Cleveland, LLC.

       13.       Motil prepared forms necessary to initiate an investment by Hansen and copies of

an executed promissory note (the “First Hansen Note”) and an executed mortgage (the "First

Hansen Mortgage") both of which were created by Motil. Copies of the First Hansen Note and

First Hansen Mortgage are attached hereto as Exhibit A and Exhibit B, respectively, and are

incorporated by reference herein.

       14.       Motil and NS Equity have refused to supply the original First Hansen Note or First

Hansen Mortgage to Hansen.



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       15.         Motil and NS Equity Cleveland, LLC agreed to record the First Hansen Mortgage

with the Cuyahoga County Recorder and did not do so.

       16.         Motil wrongfully converted the proceeds of the First Hansen Loan to NS Equity

Cleveland, LLC to his own use and benefit and/or the use and benefit of North Shore Equity Sales,

LLC and possibly to other entities controlled by Motil.

       17.         Motil and NS Equity Cleveland, LLC did not repay the First Hansen Loan and still

owe Hansen the principal amount of $50,000 plus interest on the First Hansen Loan.

       18.         On March 31, 2021, Hansen recorded a First Hansen Affidavit of Facts Relating to

Title on the West 50th Property as Instrument No. 202103310235 in the Cuyahoga County Records

with a copy of the First Hansen Mortgage attached, averring that the First Hansen Mortgage should

have been filed with the Cuyahoga County Recorder by Motil and NS Equity Cleveland, LLC, and that

the First Hansen Affidavit of Facts Relating to Title was being recorded pursuant to R.C. 5301.252 in

order to protect the interest and priority of Hansen. A copy of the First Hansen Affidavit of Facts

Relating to Title is attached hereto as Exhibit C and incorporated by reference herein.

       19.         Upon information and belief, Motil and NS Equity Cleveland, LLC solicited and

entered into similar transactions with other creditors who made loans to Motil and NS Equity Cleveland

upon the false promise that the creditors would receive recorded security interests in the West 50th

Street Property.

       20.         Motil attempted to transfer title to the West 50th Street Property via a General

Warranty Deed between his entity, NS Equity Cleveland, LLC, and SFR3-020, LLC, which was

recorded as Instrument No. 202104220405 with the Cuyahoga County Fiscal Officer on April 22,

2021, within one year of Motil’s Petition Date. A copy of said Warranty Deed is attached hereto

as Exhibit D and incorporated by reference herein.




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       21.      Upon the solicitations and representations of Motil, Hansen and Motil also entered

into an agreement whereby Hansen lent the sum of $85,000.00 for a term of six (6) months to a

limited liability company owned or controlled by Motil, namely NSEM Mansfield 1, LLC (the

“Second Hansen Loan”), which loan was to be secured by a first lien upon certain real property

located at 431 Plymouth Street, Plymouth, Ohio 44864 (the “Plymouth Street Property").

       22.      NSEM Mansfield 1, LLC was the record title holder of the Plymouth Street

Property by virtue of a Warranty Deed from Residential Income Fund 56, LLC, a California

Limited Liability Company to NSEM Mansfield 1, LLC and recorded at Instrument No.

20190000003040 with the Richland County, Ohio Recorder.

       23.      The Second Hansen Loan was to be documented with a promissory note and

mortgage, to be prepared by Motil and NSEM Mansfield 1, LLC.

       24.      Motil prepared forms necessary to initiate an investment by Hansen and copies of

an executed promissory note (the “Second Hansen Note”) and an executed mortgage (the "Second

Hansen Mortgage") both of which were created by Motil. Copies of the Second Hansen Note and

Second Hansen Mortgage are attached hereto as Exhibit E and Exhibit F, respectively, and are

incorporated by reference herein.

       25.      Motil and NSEM Mansfield 1, LLC have refused to supply the original Second

Hansen Note or Second Hansen Mortgage to Hansen.

       26.      Motil and NSEM Mansfield 1, LLC agreed to record the Second Hansen Mortgage

with the Richland County Recorder and did not do so.

       27.      Motil wrongfully converted the proceeds of the Second Hansen Loan to NSEM

Mansfield 1, LLC to his own use and benefit and/or the use and benefit of North Shore Equity

Sales, LLC and possibly to other entities controlled by Motil.



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        28.      Motil and NSEM Mansfield 1, LLC did not repay the Second Hansen Loan and

still owe Hansen the principal amount of $85,000 plus interest on the Second Hansen Loan.

        29.      On March 31, 2021, Hansen recorded a Second Hansen Affidavit of Facts Relating to

Title on the Plymouth Street Property as Instrument No. 202100004452 in the Richland County

Records with a copy of the Second Hansen Mortgage attached, averring that the Second Hansen

Mortgage should have been filed with the Richland County Recorder by Motil and NSEM Mansfield

1, LLC, and that the Second Hansen Affidavit of Facts Relating to Title was being recorded pursuant

to R.C. 5301.252 in order to protect the interest and priority of Hansen. A copy of the Second Hansen

Affidavit of Facts Relating to Title is attached hereto as Exhibit G and incorporated by reference herein.

        30.      Upon information and belief, Motil and NSEM Mansfield 1, LLC solicited and

entered into similar transactions with other creditors who made loans to Motil and NSEM Mansfield

1, LLC upon the false promise that the creditors would receive recorded security interests in the

Plymouth Street Property.

        31.      Upon the solicitations and representations of Motil, Oliver and Motil also entered

into an agreement whereby Oliver lent the sum of $150,000.00 for a term of six (6) months to a

limited liability company owned or controlled by Motil, namely NSEM Mansfield 2, LLC (the

“Oliver Loan”), which loan was to be secured by a first lien upon certain real property located at

860-904 Elm Street, Bucyrus, Ohio 44820 (the “Elm Street Property").

        32.      NSEM Mansfield 2, LLC was the record title holder of the Elm Street Property by

virtue of a Warranty Deed from Residential Income Fund 56, LLC, a California Limited Liability

Company to NSEM Mansfield 2, LLC and recorded at Instrument No. 201900206424 with the

Crawford County, Ohio Recorder.

        33.      The Oliver Loan was to be documented with a promissory note and mortgage, to

be prepared by Motil and NSEM Mansfield 2, LLC.

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       34.      Motil prepared and supplied forms necessary to initiate an investment by Olver

and copies of an executed promissory note (the “Oliver Note”) and an executed mortgage (the

"Oliver Mortgage") both of which were created by Motil. Copies of the Oliver Note and Oliver

Mortgage are attached hereto as Exhibit H and Exhibit I, respectively, and are incorporated by

reference herein.

       35.      Motil and NSEM Mansfield 2, LLC have refused to supply the original Oliver

Note or Oliver Mortgage to Oliver.

       36.      Motil and NSEM Mansfield 2, LLC agreed to record the Oliver Mortgage with the

Crawford County Recorder and did not do so.

       37.      Motil wrongfully converted the proceeds of the Oliver Loan to NSEM Mansfield

2, LLC to his own use and benefit and/or the use and benefit of North Shore Equity Sales, LLC

and possibly to other entities controlled by Motil.

       38.      Motil and NSEM Mansfield 2, LLC did not repay the Oliver Loan and still owe

Oliver the principal amount of $150,000 plus interest on the Oliver Loan.

       39.      On March 31, 2021, Oliver recorded the Oliver Affidavit of Facts Relating to Title on

the Elm Street Property as Instrument No. 202100218662 in the Crawford County Records with a copy

of the Oliver Mortgage attached, averring that the Oliver Mortgage should have been filed with the

Crawford County Recorder by Motil and NSEM Mansfield 2, LLC, and that the Oliver Affidavit of

Facts Relating to Title was being recorded pursuant to R.C. 5301.252 in order to protect the interest

and priority of Oliver. A copy of the Oliver Affidavit of Facts Relating to Title is attached hereto as

Exhibit J and incorporated by reference herein.

       40.      Upon information and belief, Motil and NSEM Mansfield 2, LLC solicited and

entered into similar transactions with other creditors who made loans to Motil and NSEM Mansfield




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2, LLC upon the false promise that the creditors would receive recorded security interests in the Elm

Street Property.

        41.         Motil and the Motil Entities promised security interests to numerous other creditors

in exchange for loans, which Motil and the Motil Entities did not record.

                                              COUNT ONE

        42.        Plaintiffs incorporate the foregoing paragraphs as though fully restated herein.

        43.        11 U.S.C. § 727(a)(2) provides that a debtor shall not be granted a discharge under

11 U.S.C. § 727 if “the debtor, with the intent to hinder, delay, or defraud a creditor or an officer

of the estate charged with custody of property under this title, has transferred, removed, destroyed,

mutilated, or concealed, or has permitted to be transferred, removed, destroyed, mutilated, or

concealed – (A) property of the debtor, within one year before the date of the filing of the petition;

or (B) property of the estate, after the date of the filing of the petition.”

        44.        Defendant has, with the intent to hinder, delay or defraud Plaintiffs, or an officer of

the bankruptcy estate, transferred, removed, destroyed, mutilated, or concealed, or has permitted

to be transferred, removed, destroyed, mutilated, or concealed – property of the Defendant within

one year before the date of filing of the petition, or property of the estate after the date of the filing

of the petition.

        45.        Defendant has wrongfully, in exchange for little, or no value received, transferred

his assets or the assets of the Motil Entities, including but not limited to the West 50th Street

Property within one year of the Petition Date.

        46.        As a result of Defendant’s wrongful actions, Defendant should be denied a

discharge under 11 U.S.C. § 727(a)(2) and Plaintiffs should receive judgment against the

Defendant in an amount to be shown at trial, plus attorney’s fees, interest and court costs.



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                                          COUNT TWO

       47.     Plaintiffs incorporate the foregoing paragraphs as though fully restated herein.

       48.     11 U.S.C. § 727(a)(3) provides that a debtor shall not be granted a discharge under

11 U.S.C. § 727 if “the debtor has concealed, destroyed, mutilated, falsified, or failed to keep or

preserve any recorded information, including books, documents, records, and papers, from which

the debtor’s financial condition or business transactions might be ascertained, unless such act or

failure to act was justified under all of the circumstances of the case.”

       49.     Defendant has concealed, destroyed, mutilated, falsified, or failed to keep or

preserve records of the First Hansen Loan, the Second Hansen Loan, and the Oliver Loan,

including but not limited to not recording the First Hansen Mortgage, the Second Hansen

Mortgage, and the Oliver Mortgage, after agreeing to do so, and failing to maintain or produce

originals of such records.

       50.     Upon information and belief, Defendant has also concealed, destroyed, mutilated,

falsified, or failed to keep or preserve records of other creditors’ loans and security interests,

including but not limited to not recording such records, after agreeing to do so.

       51.     Upon information and belief, Defendant has also mutilated or falsified records of

loans and security interests by misappropriating and using a third-party’s notary stamp on such

records without authorization to do so.

       52.     As a result of Defendant’s wrongful actions, Defendant should be denied a

discharge under 11 U.S.C. § 727(a)(3) and Plaintiffs should receive judgment against the

Defendant in an amount to be shown at trial, plus attorney’s fees, interest and court costs.




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                                          COUNT THREE

        53.     Plaintiffs incorporate the foregoing paragraphs as though fully restated herein.

        54.     11 U.S.C. § 727(a)(4) provides, in part, that a debtor shall not be granted a discharge

under 11 U.S.C. § 727 if “the debtor knowingly and fraudulently, or in connection with the case –

(A) made a false oath or account....”

        55.     Defendant has made a false oath or account, including but not limited to, upon

information and belief, by misappropriating and using a third-party’s notary stamp on loan and

financial records without authorization to do so, and to the extent, upon information and belief,

that he has made false statements in testimony given in his bankruptcy proceeding.

        56.     As a result of Defendant’s wrongful actions, Defendant should be denied a

discharge under 11 U.S.C. § 727(a)(4) and Plaintiffs should receive judgment against the

Defendant in an amount to be shown at trial, plus attorney’s fees, interest and court costs.

                                           COUNT FOUR

        57.     Plaintiffs incorporate the foregoing paragraphs as though fully restated herein.

        58.     11 U.S.C. § 727(a)(5) provides that a debtor shall not be granted a discharge under

11 U.S.C. § 727 if “the debtor has failed to explain satisfactorily, before determination of denial

of discharge under this paragraph, any loss of assets or deficiency of assets to meet the debtor’s

liabilities.”

        59.     Defendant has failed to explain satisfactorily, before determination of denial of

discharge, his loss of assets or a deficiency in his assets to meet his liabilities.

        60.     As a result of Defendant’s wrongful actions, Defendant should be denied a

discharge under 11 U.S.C. § 727(a)(5) and Plaintiffs should receive judgment against the

Defendant in an amount to be shown at trial, plus attorney’s fees, interest and court costs.



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                                          COUNT FIVE

       61.     Plaintiffs incorporate the foregoing paragraphs as though fully restated herein.

       62.     11 U.S.C. § 727(a)(7) provides that a debtor shall not be granted a discharge under

11 U.S.C. § 727 if “the debtor has committed any act specified in paragraph (2), (3), (4), (5), or

(6) of this subsection, on or within one year before the date of the filing of the petition, or during

the case, in connection with another case, under this title or under the Bankruptcy Act, concerning

an insider.”

       63.     As set forth above, Defendant has committed acts specified in 11 U.S.C. §

727(a)(2), (3), (4), and (5) on or within one year before the Petition Date, or during the Debtor’s

bankruptcy case, or in connection with another case concerning an insider to the Motil Entities.

       64.     As a result of Defendant’s wrongful actions, Defendant should be denied a

discharge under 11 U.S.C. § 727(a)(7) and Plaintiffs should receive judgment against the

Defendant in an amount to be shown at trial, plus attorney’s fees, interest and court costs.

       WHEREFORE, Plaintiffs, Danielle Hansen and Toby Oliver request that this Court

determine that Defendant, Matthew M. Motil is not entitled to a discharge under 11 U.S.C. §

727(a)(2), (3), (4), (5) or (7) and Bankruptcy Rule 4004 with respect to the debts owed by Motil

to Plaintiffs or to any other debts. Further, Plaintiffs pray that judgment be entered against the

Defendant in favor of Plaintiffs in an amount to be shown at trial, plus attorney’s fees, court costs,

and any other relief this Court deems just and equitable.

                                               Respectfully submitted,

                                               /s/ Matthew R. Duncan
                                               Matthew R. Duncan (#0076420)
                                               Email: mrduncan@bmdllc.com
                                               Brennan, Manna & Diamond, LLC
                                               75 E. Market Street
                                               Akron, OH 44308


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                                                 Phone (330) 253-5060
                                                 Fax (330) 253-1977

                                                 Attorneys for Plaintiffs, Danielle Hansen and Toby
                                                 Oliver




                                   CERTIFICATE OF SERVICE

          I hereby certify that a copy of the foregoing Complaint has been sent to:

          Via ECF:
          Scott R. Belhorn, Trustee, on behalf of Andrew R. Vara at scott.r.belhorn@usdoj.gov
          Virgil E. Brown, Chapter 7 Trustee, at virgil@vebtrustee.com, vbrownjr@ecf.axosfs.com
          Thomas W. Coffey, Attorney for Debtor, at tcoffey@tcoffeylaw.com

and by regular U.S. Mail to:

 Matthew Motil
 7011 Chadbourne Drive
 North Olmstead, OH 44070

 Thomas W. Coffey
 Attorney for Debtor
 2430 Tremont Avenue, Front
 Cleveland, OH 44113-4635



Date of Service: August 3, 2022                  /s/ Matthew R. Duncan
                                                 Matthew R. Duncan (#0076420)
                                                 Attorney for Plaintiffs, Danielle Hansen and Toby
                                                 Oliver


4880-7071-2109, v. 1




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                                          Promissory Note

   On this date of December 9, 2019, in return for valuable consideration received, the
   undersigned, NS Equity Cleveland, LLC (hereinafter "Borrower") jointly and severally
   promises to pay Danielle Hansen (hereinafter "Lender"), the sum of
   $50,000.00 together with interest tliereon, as stated in the terms of this note.

   Terms of Repayment - This loan shall be repaid under the following terms:

  $50,000.00 to be financed at 14% APR with a 12 month balloon -Monthly payments of
  $583.33. 1s1 prorated payment on Januaiy 1st, 2020 - Last payment on Januaiy 1st, 2021 with a
  balloon of $50,000.00

  Collateral - The following property will be used as collateral -
  3593 W. 50th Street, Cleveland, Ohio 44102

  Payable On Demand - The entire unpaid principal and acci-ued interest thereon, if
  any, shall become due and payable on demand by the holder of this note 120 days after
  such demand is made in writing.

  Place of Payment - all payments due under this note shall be made by ACH or mailed to
  or at such other place as the holder of this Note may designate in writing.

  Borrower's Address - The Bon-ower shall provide to provide prompt wi-itten notice to the
  Lender of any cliange of address.

 Prepayment - This Note may be prepaid in whole or in part at any time without premium or
 penalty. All prepayments shall first be applied to interest, and then to principal payments in the
 order of their maturity.

 Default - In tlie event of default, the bon-ower[s] agree to pay all costs and expenses incun-cd by
 the Lender, including all reasonable attorney fees (including both hourly and contingent attorney
 fees as permitted by law) for the collection of this Note upon default, and including reasonable
 collection charges (including, where consistent with industiy practices, a collectioii charge set as
 a percentage of the outstanding balance of this Note) should collection be referred to a
 collection agency.

 The note holder understands and agrees tliat regardless of any oilier provisions contained herein,
 this note is a non-recourse note and the holder's sole recourse in the event of a default shall be
 against the propei-ty securing this note and not against the borrower.

 Acceleration of Debt - In the event that the bon'ower fails to make any payment due under the
 terms of this Note, or breach any condition relating to any security, security agreement, note,
 mortgage or lien granted as collateral security for this Note, seeks relief under the Bankruptcy
 Code, or suffers an involuntary petition in bankruptcy or receivership not vacated within thirt
                                                                                          EXHIBIT

                                                                                             A
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   (30) days, the entire balance oftliis Note and any interest accrued thereon shall be immediately
   due and payable to the holder of this Note.

  Joint and Several Liability - All boirowers identified in this Note shall be jointly and severally
   liable for any debts secured by this Note.

  Modification - No modification or waiver of any of the terms of this Agreement shall be allowed
  unless by written agreement signed by both parties. No waiver of any breach or default
  hereunder shall be deemed a waiver of any subsequent breach or default of the same or similar
  nature.


  Transfer oftlie Note - The borrowers hereby waive any notice of the transfer of this Note by the
  Lender or by any subsequent holder of this Note, agree to remain bound by the teims of this Note
  subsequent to any ti-ansfer, and agree that the teims of this Note may be fully enforced by any
  subsequent holder of this Note.

  Severability of Provisions - In tlie event that any portion of this Note is deemed unenforceable,
  all other provisions of this Note shall remain in full force and effect.

  Choice of Law - All tei-ms and conditions of this Note shall be intei-preted under the laws of the
  state of Ohio.


 Signed Under Penalty ofPeijury, this 9tn-£)ay of December, 2019,



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 Matthew Motil for NS Equity Cleveland, LLC




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                                 .[Space Above This Line For Recording Date]_

                                                 MORTGAGE

  Made on (Ill's     .day of_,2019.
 Behveea

 Daoielle Hansen
                                                                                     (hereinafter "Mortgagee")
 And

 NS Equity Cleveland. LLC
                                                                                     (hereinafter "Mortgagor")

 WIiereas, MORTGAGOR by its Note (hereinafter Uic "NOTE") dated December 9,2019 is indebted to
 MORTGAGEE in the principal amount of $50,000.00 advanced by MORTGAGEE to MORTGAGOR,
 together with interest Uiereon at the rate(s) provided in the NOTE until (he INDEBTEDNESS is paid in
 full in (lie manner and at the times set forth in the NOTE, with the final payment of principal aiid interest,
 if not sooner paid, due and payable at the maturity date set forth in the NOTE, as the same may be
 amended, and contaiiting other tenns and conditions, all of which are specifically incoiporated herein by
 reference; and

Whereas, as a condition to extendiiig (lie aforementioned INDEBTEDNESS to MORTOAOOR, tlic
MORTGAGEE requires, and MORTGAGOR has agreed to secure U>e payinent and perfomiance of its
obligations under the Note with this MORTGAGE.

Now, Therefore, MORTGAGOR, in considcralion of tlic INDEBTEDNESS and as security for the
payinent of the same, docs hereby mortgage, grant and convey to (lie MORTGAGEE, its succcssore and
assigns:

All of MORTGAGOR'S right, title and interest in, to and under (i) the premises commonly referred to as
3593 W. 50"' Street, Cleveland, Ohio 44102 (i) as more particularly described in Exhibit A aitached licreto
and made a part hereof, togellierwith all oftlie easemenls, rights ofway, privileges, liberties, hereditaments,
gores, streets, alleys, passages, \vays, waters, watercourses, rights and appurtenances (hereunto belonging
or appertaining and all of (he estate, riglil, (ide, interest, claim and demand whatsoever of (lie Mortgagor
tlicreiii and in the public streets and ways adjacent thereto, either at law or ill equity, in possession or
expectancy (collectively, the "Property"), and (ii) the structures and buildings, and all additions and
improvements thereto, now or hereafter erected upon (lie Property (including all equipment constituting
fixtures thereon) (collectively, the 'Improvements", and togetlier with (lie Property, the "Mortgaged
Premises"),

TO HAVE AND TO HOLD, the Mortgaged Premises unto the Mortgagee, its successors and/or assigns,
to its own use forever in accordance with the provisions hereof.

Provided, however, that if the MORTGAGOR shall pay to tlie MORTGAGEE the INDEBTEDNESS and
shall fully pcrfbnn each of the other covenants and agreements hereinafter set fortli, tlicn this Mortgage and
(lie estate hereby granted and conveyed shall become void.

This Mortgage is executed and delivered subject to the following covenants and agreements:

(1) MORTGAGOR shall promptly pay when due the INDEBTEDNESS according to the
                NOTE and this Mortgage.
                                                                                                                  EXHIBIT

                                                                                                                   B
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  (2) Until the INDEBTEDNESS is fully paid, MORTGAGOR shall: (a) pay and discliat^e,
                  when the sanie shall become due and payable, all taxes, assessments, sewer and water rents
                  and all other cliarges and claims assessed or levied froin lime lo time by any lawful
                  authority upon any part oftlie MORTGAGED PREMISES and wliicli shall or might have
                  prion'ty in lien or payincnt to the INDEBTEDNESS secured licreby, such payments to be
                  niade directly to (he person or entity to whicli paynicnt is owed; (b) pay and discharge all
                  liens, claims or encumbraiices which may be filed against the MORTGAGED PREMISES
                 and whicli might have priority in lien or payment to the INDEBTEDNESS secured hereby;
                 (c) provide and keep in effect, by paying (he necessary prcniiums and charges thereon, such
                 policies of hazard and liability insurance as MORTGAGEE may from time to (ime require
                 on tlie improvenients now or liereafter erected on the MORTGAGED PREMISES, with
                 loss payable clauses in favor of MORTGAGOR and MORTGAGEE, as their respective
                 interests may appear, and (d) proinptly submit to MORTGAGEE evidence of the date and
                punctual payment of all of tlie foregoing charges. In the event of loss, MORTGAGOR
                sliall give prompt notice to tlie insurance carrier and MORTGAGEE. Unless
                MORTGAGEE and MORTGAGOR otlierwise agree in wriu'ng, insurance proceeds shall
                be applied to restoration or repair of the MORTGAGED PREMISES, if the restoration or
                repair is economically feasible and MORTGAGEE'S security is not lessened. If the
                restoration or repair is not feasible or if MORTGAGEE'S security would be lessened, die
                insurance proceeds shall be applied lo the INDEBTEDNESS secured by this Mortgage,
                whether or not then due, will) any excess paid to MORTGAGOR. If MORTGAGOR
                abandons (lie MORTGAGED PREMISES or does not answer, wiUiin 30 days, a notice
                from MORTGAGEE that (lie insurance carrier has offered (o settle a claim, then
               MORTGAGEE may collect the insurance proceeds. MORTGAGEE may use (he proceeds
               to repair or restore the MORTGAGED PREMISES or to pay Ac INDEBTEDNESS
               secured by this MORTAOEE and MORTGAGOR oUicrwise agree in writing, any
               application of proceeds to principal shall not extend or postpone (lie due date ofinontfily
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               foreclosure, MORTGAGOR'S rights to any insurance policies and proceeds resulting from
               daniage to the MORTGAGED PRENOSES prior to the acquisitions shall pass to
               MORTGAGEE to (lie extent of Uie INDEBTEDNESS secured by tliis Mortgage
               immediately prior to (lie acquisition.
(3) MORTGAGOR shall maintain all improvements subject (o this Mortgage in good and
          substantial repair, MORTOAOEE shall have the right to enter upon the MORTGAGED
          PRBMISES at any reasonable hour for the purpose of inspecting the order, condition and
          repair of the improveinents erected thereon.
(4) MORTGAGOR covenants and agrees not to create, nor permit to accnie, upon all or any
          pan of the MORTGAGED PREMISES any debt, lien orcliarge which would be prior in
          lien or payment to tlie lien oftliis Mortgage.
(5) In the event MORTGAGOR neglects or refuses to pcrfbnn the covenants and agreements
               contained in tliis Mortgage, then MORTGAGEE may, but sliall not be required to, do so,
               and make whatever advances are necessary to protect (lie value of Die MORTGAGED
               PREMISES and MORTGAGEE'S riglits in (lie MORTGAGED PREMISES, provided that
               no such payment by (he MORTGAGEE sliall be considered a waiver or release of any
               renicdy MORTGAGEE may liavc against MORTGAGOR. MORTGAGEE'S actions may
               include paying taxes, assessnicnts, maintenance charges, insurance premiums, costs or
              expenses for (lie protcclion of the MORTGAGED PREMISES or (lie lien oftliis Mortgage
              or paying expenses, including attorney's fees, incurred by reason of (he MORTGAGOR'S
              default. Any advances made by MORTGAGEE hercunder shall become additional
              INDEBTEDNESS of MORTGAGOR secured by tliis Mortgage. Unless MORTGAGEE
              agrees in writing to otlier terms of payment, tliese advances shall bear interest front the date
              of disbursement at the rate(s) set fortli in (lie NOTE and shall be payable, with interest,
              upon notice from MORTGAGEE (o MORTOAOOR requesting payment.

(6) Should the MORTGAGED PREMISES or any part thereof be (aken^r damaged by reason
              of any public condemnation proceeding or similar action, the MORTGAGEE shall be
              entitled to all compensation, awards, and any oilier payment or relief llierefore to Die extent
              of the outstanding INDEBTEDNESS and shall be entitled, at its option, to commence,
              appear in, and prosecute in its own nainc, any action or proceeding or to make any
              compromise or settlement in connection witli sucli taking or damage. All such
              compensation, awards, damages, rights of action, and proceeds are hereby assigned to the



                                                                                               Page 2 of 5
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                  MORTOAOEE, wlio may, after deducting tliere front its expenses, including attorney's
                  fees, release any monies received by it or apply die same to any INDEBTEDNESS secured
                  hereby.

 (7) If all or any part of the MORTGAGED PREMISES or any interest in it is sold or
                transferred, or if a bencHcial interest in MORTGAGOR is sold or transferred and
                MORTGAGOR is not a natural person, without MORTGAGEE'S prior written consent,
                  MORTGAGEE may, at its option, require inimcdiatc payment in full of all
                  INDEBTEDNESS secured by this Mortgage. This option shall not be exercised if
                  prohibited by law as of the dale of Uiis Mortgage. If MORTGAGEE exercises this option,
                 MORTGAGEE shall give MORTGAGOR \vrittcn notice of acceleration. This notice shall
                 provide a period of not less Uian 30 days from (lie date the notice is mailed williin which
                 MORTGAGOR must pay die entire INDEBTEDNESS. If MORTGAGOR fails to pay
                 these sums prior to the expiration of die 30-day period, MORTGAGEE may invoke any
                 remedy penniltcd by this Mortgage witliout furtfier notice or demand on MORTGAGOR.

 (8) The following shall constitute Events of Default under lliis Mortgage: (a)
             MORTGAGOR'S failure to pay any installmeiit of principal or interest in accordance witli
                 the NOTE; (b) MORTGAGOR'S failure to pay any other sum required to be paid in
                 accordance will) the NOTE or tliis Mortgage, when tlic same is due and payable; or (c)
                 MORTGAGOR'S failure to pcrfomi any covenant or agreement in the NOTE or this
                 Mortgage. If one or more of the foregoing Events of Default occurs, MORTGAGEE may,
                 at its option, a fter any notice and opportunity to cure required by law and otlienvisc without
                 notice and opportunily to cure, declare (lie entire unpaid balance of the INDEBTEDNESS
                 to be immediately due and payable. MORTGAGEE niay ininicdiatcly institute an aclion
                 of mortgage foreclosure or lake any other legal action for the enforcement ofdiis Mortgage,
                 and proceed to filial judgment and execution thereon for (lie INDEBTEDNESS, costs of
                 suit and an attorney's conunission for collection of ten percent (10.0%) but not
                 less than S2.500.CO. Interest at the highest rate provided in the NOTE shall continue to
                 accrue on anyjudgnient obtained by MORTGAGEE, until actual payment is inade oftlie
                 full amount due MORTGAGEE. MORTGAOR hereby waives and releases all benefits
                 that might accrue to MORTGAGOR by virtue ofany present or fiiture laws exempting (lie
                 MORTGAGED PREMISES, or any part of Ide proceeds arising from any sale thereof,
                 from attacliment, levy or sale uiider execution, or providing for any stay of execution,
                 exemption from civil process, or extension of time for payment.

(9) The covenants in this Mortgage shall bind, and its benefits sliall inure to, the
                MORTGAGOR and (lie MORTGAGEE and their respective heirs, executors,
                administrators, successors and assigns, subject to the provisions of Paragraph 8.

(10) Iftliis Mortgage is executed by more than one person, (he undertakings and liability of each
                sliall be joint and several.

(11) Ally notice wliicli is mailed certified mail to MORTGAGOR or to the person(s) wlio
                (is)(arc) die then owners) of the MORTGAGED PREMISES at (lie address of (lie
                MORTGAGED PREMISES or at such odter address as MORTGAGOR shall designate to
                MORTGAGEE in wiling, shall be sufficient notice when required under lliis Mortgage.

(12) MORTGAGEE'S rights and remedies as provided herein or in the NOTE shall be
          cumulative aiid concurrent, and inay be pursued singly, successively or togellier, at the sole
          discretion of MORTGAGEE, and may be exercised as often as the occasion llierefor sliatl
                occur; and the failure to exercise any right or remedy shall in no event be construed as a
                waiver by MORTGAGEE or release of the same.

(13) In the event any term or provision of this Mortgage or the application thereof lo any person
               or circunistanccs shall, (o any extent be invalid and unenforceable, (lie remainder of this
               Mortgage, or its application other than to (hat which is held invalid or unenforceable, shall
               not be affected thereby, and each term and provision hereof shall be valid and enforceable
                to the fullest extent pemutted by law.

TIiis Mortgage sliall be governed by (lie law ofOliio, in which (lie MORTGAGED PREMISES are
located. This provision shall not limit the applicability of federal law to this Mortgage.




                                                                                                 Page 3 of 5
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                        ;




 Rxeculcd (his 9^1 Day of December , 2019

                    )r>




By: NS Equity! Cleveland, LLC
ACKNOWLEDC/MENT STATE OF Dh;0                                  . COUNTY OF C.u^Okha^
On this 9th day of December                       ., 2019 _ personally appeared before me,
    Matthew Motll

known to me or provided sufficient identillcation, to be (lie person(s) whose naine(s) are subscribed lo Die
williin inslnimenl and acknowledged that they excculed (he sanie for (lie purposes therein contained.
                    !



VirujJs^ M KifltL                       .(seal)


                                                        ffi
Notaiy Public I

My commission expires: Ullbl2oZ^


Document Prep&red by Matthew Mottl




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                                                                                               Page 4 of 5

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                                               Exhibit A
                                           Legal Description

 Situated in die Slate ofOliio County ofCuvaIioca and in the City of Cleveland

 Located at;
3593 W. SO"" Sh-cet, Cleveland, OIifo 44102
 Willi the legal description:
Parcel No.-016-22-010




                                                                                 Page 5 of S

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                                                                                            EXHIBIT C



                                                                  CUYAHOGACOUNn
                                                                  OFFICE OF FISCAL OFFICERS-10
                                                                  DEAF 3/31/2021 12:19:02 PM
                                                                  202103310235


                      AFFIDAVIT OF FACTS RELATING TO TITLE
                                        O.R.C. 5301.252



STATE OF FLORIDA              )
                              )SS:
COUNTS OF LEE                 )



       I, Danielle Hansen, after being first duly swom, state as follows:


1. I am over the age of eighteen and am competent to testify as to the matters set forth herein.
2. This Affidavit is made pursuant to O.R.C. 5301.252, and pertains to the property commonly
known as 3593 W. 50"' Street, Cleveland, Ohio 44102 (the "Property") legally described as follows:


               Situated in the City of Cleveland, County ofCuyahoga and State of
               Ohio, and known as being Sublet No. 196 in Joseph Storer's
               Allotment of part of Original Brooklyn Township Lot No. 46, now in
               said City.

              Said Sublot No. 196 has a frontage of 40 feet on the Easterly side of
              West 50th Sft-eet (formerly Isabella Street), and extends back 128.32
              feet deep on the Northerly Ime, 127.53 feet deep on the Southerly
              line, and is 40.01 feet wide in the rear, as per plat of said allotment
              recorded in Volume 12 of Maps, Page 50 of Cuyahoga County
              Records, be the same more or less, but subject to all legal highways.
              *And also including part of a vacated alley shown by the recorded
              plat in Volume 227, Page 95 ofCuyahoga County Records.
                                                                                              EXHIBIT




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               Permanent Parcel No.          016-22-010

               Propei-ty Address:            3593 West 50th Street
                                             Cleveland, OH 44102



 3. Title to the Propei-ty is cuirently held in the name ofNS Equity Cleveland, LLC ("NS
Equity").

4. On approximately December 9 , 20191 entered into a lending transaction with NS Equity
whereby a mortgage upon the real property described above to secure the sum of Fifty Thousand
Dollars ($50,000) ("Mortgage") lent was to be filed with the Cuyahoga County Recorder.

5. A true and accurate copy of the Mortgage supplied by NS Equity is attached hereto as Exhibit
"A".
"A"




6. I was issued a Promissory Note for the Mortgage on December 9"1,2019, a tfue and accurate
copy of which is attached hereto as Exhibit "B".

7. I have not been provided an unrecorded complete original or a copy of a mortgage upon the

Propei-ty.

8. I have not been provided an original or copy of a mortgage upon the Property recorded in the

Cuyahoga County Records.

9. I cannot locate a notation of the Mortgage being recorded on the online records of the

Cuyahoga County Records.

10. I am not aware of the location of a mortgage to Mortgagee upon the Propei-ty.

11. I claim an equitable mortgage upon the Property in the name ofDanielle Hansen; and

12. I state that it is necessaiy to record and claim a mortgage interest on the Property to protect


                                               2




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 the secured status bargained for in the loan transaction.

        Affiant states nolliing further.                                          /




                                                                  ByL.
                                                                         Danietle I-Iansen




STATE OF FLORIDA, COUNTY OF LEE, ss:



        The foregoing instrument was sworn to before me and subscribed ill my preseiice thisol5"^

day of March, 2021, by Danielle Hansen.

                        ^ 'tf: Notary Public Stste_of Florida
                       f\A'<f: VICKIE L GOLDEN
                       %r1 S My Commission GO 978409
                        *'>oTfrd? EXPIres 04^28/2024
                                                                    t^k           ,;         ^^^

                                                                  Notary Public




                                                          3




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                                .[Space Above This Line For Recording Date].

                                                MORTGAGE
 Made on this       .day of_,2019,
Behveen

 Danielle Hansen
                                                                                    (hereinafter "Mortgagee")
And

NS Equity Cleveland, LLC
                                                                                    (hereinafter "Mortgagor")

WIiereas, MORTGAGOR by its Note (hereinafter die "NOTE") dated December 9,2019 is indebted to
MORTGAGEE in the principal amount of $50,000.00 advanced by MORTGAGEE to MORTGAGOR,
togetlicr with interest Uiereon at the rate(s) provided in the NOTE until the INDEBTEDNESS is paid in
fill! in (lie manner and at the times set forth in the NOTE, with the final payment of principal aiid interest,
if not sooner paid, due and payable at the maturity date set forth in the NOTE, as the same may be
amended, and contaiiiing other tenns and conditions, all of which are specifically incoiporated herein by
reference; and

Whereas, as a condition to extendiiig the aforementioned BTOEBTEDNESS to MORTCAOOR, tlic
MORTGAGEE requires, and MORTGAGOR has agreed to secure tlie payinent and perfomiance of its
obligations under the Note with this MORTGAGE.

Now, Therefore, MORTGAGOR, in consideration of Uie INDEBTEDNESS and as security for (he
payment of (lie same, does hereby mortgage, grant and convey to (lie MORTGAGEE, its successots and
assigns:

All of MORTGAGOR'S right, title and interest in, to and under (i) (lie premises commonly referred to as
3593 W. 50th Street, Cleveland, Ohio 44102 (i) as more particularly described in Exhibit A attached hereto
and made a part hereof, togetherwith all of the easements, rights ofway, privileges, liberties, hereditaments,
gores, streets, alleys, passages, \vays, waters, watercourses, rights and appurtenances thereunto belonging
or appertaining and all of the estate, right, (ide, interest, claini and demand whatsoever of the Mongagor
thereiii and in the public streets and ways adjacent thereto, either at law or ill equity, in possession or
expectancy (collectively, the "Property"), and (ii) the structures and buildings, and all additions and
iniprovemenls thereto, now or hereafter erected upon (lie Property (including ati equipment constituting
fixtures thereon) (collectively, the 'Improvements", and togetlier with the Property, the "Mortgaged
Premises"),

TO HAVE AND TO HOLD, the Mortgaged Premises unto the Mortgagee, its successors and/or assigns,
to ils own use forever in accordance with the provisions hereof.

Provided, however, Ihat if the MORTGAGOR shall pay to tlie MORTGAGEE the INDEBTEDNESS and
shall fully pcrfonn each of the other covenants and agreements hereinafter set fortli, llien this Mortgage and
(lie estate hereby granted and conveyed shall become void.

This Mortgage is executed and delivered subject to the following covenants and agreements;

(1) MORTGAGOR shall promptly pay when due the INDEBTEDNESS according to the
          NOTE and this Mortgage.
                                                                                                                  EXHIBIT


                                                                                                                  A
                                                                                                   Page 1 of 5


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 (2) Until the INDEBTEDNESS is fiilly paid, MORTGAGOR shall: (a) pay and discliarge,
                 wlien the sanie shall become due and payable, all taxes, assessments, sewer and water rents
                and all other cliarges and claims assessed or levied from time to time by any lawful
                authority upon any part oftlie MORTGAGED PREMISES and wliicli shall or might have
                priority in lien or payment to the INDEBTEDNESS secured liereby, sucli payments to be
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                (c) provide and keep in effect, by paying (he necessary prcniiums and charges thereon, such
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(5) In the event MORTGAGOR neglects or refuses to perform the covenants and agreements
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                  MORTGAGEE, wlio may, after deducting there from its expenses, including attorney's
                 fees, release any monies received by it or apply (lie same to any INDEBTEDNESS secured
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(7) If all or any part of the MORTGAGED PREMISES or any interest in it is sold or
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                 I


Rxeculcd this 9(h Day of December . 2019

For (lie Mortgager,
                 I




By: NS Equityj Cleveland. LLC
ACKNOWLEDpMENT STATE OF Qh',0                                 . COUNTY OF C.u^Aho^
On this 9th day of December . 2019                                   personally appeared before me,
    Matthew Mottl
known to me or provided sufficient identification, to be (lie person(s) whose naine(s) are subscribed to the
williin inslniment and acknowledged that they executed the sanie for (he purposes therein coiilained.

tflTUAS^ M HAtL                         .(seal)
Notary Public T                                                »tft-2ffA

                      ires: 12l/6/^o2_?
                                                         ^s
Document Prep&red by MaMhcw Mottt                           ^                 a
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                I




                                                                                              Page 4 of 5

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                                              Exhibit A
                                          Legal Description
Situated in die State of Ohio County ofCuvattoea and in the City of Cleveland
Located at:
3593 W. 50"- Street, Cleveland, Ohio 44102
Will) the legal description:
Parcel No.-016-22-010




                                                                                Page 5 of 5

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                                          Promissory Note

   On this date of December 9, 2019, in return for valuable consideration received, the
   undersigned, NS Equity Cleveland, LLC (hereinafter "Bonrower") jointly and severally
   promises to pay Danielle Hansen (hereinafter "Lender"), the sum of
   $50,000.00 together with interest tliereon, as stated in the terms of this note.

  Terms of Repayment - This loan shall be repaid under the following terms:

  $50,000.00 to be financed at 14% APR with a 12 month balloon - Monthly payments of
  $583.33. I prorated payment on Januaiy 1 ,2020 - Last payment on Januaiy 1 , 2021 with a
  balloon of $50,000.00

  Collateral - The following propeily will be used as collateral -
  3593 W,5Qth Street, Cleveland, Ohio 44102

  Payable On Demand - The entire unpaid principal and accnjed interest thereon, if
  any, shall become due and payable on demand by the holder of this note 120 days after
  such demand is made in writing.

  Place of Payment - all payments due under this note shall be made by ACH or mailed to
   or at such other place as the holder of this Note may designate in writing.

  Borrower's Address - The Bon'ower shall provide to provide prompt wiitten notice to the
  Lender of any cliange of address.

  Prepayment - This Note may be prepaid in whole or in part at any time without premium or
  penalty. All prepayments shall first be applied to interest, and then to principal payments in the
  order of their maturity.

  Default - In tlie event of default, the bon'ower[s] agree to pay all costs and expenses mcun-cd by
  the Lender, including all reasonable attorney fees (including both hourly and contingent attorney
  fees as permitted by law) for the collection of this Note upon default, and including reasonable
  collection charges (including, where consistent with industry practices, a collection charge set as
  a percentage of the outstanding balance of this Note) should collection be referred to a
  collection agency.

  The note holder understands and agrees that regardless of any odier provisions contained herein,
  this note is a non-recourse note and the holder's sole recourse in the event of a default shall be
  against the propei-ty securing this note and not against the borrower.
 Acceleration of Debt - In the event that the bon-ower fails to make any payment due under the
 terms of this Note, or breach any condition relating to any security, security agreement, note,
 mortgage or lien granted as collateral secunty for this Note, seeks relief under the Bankruptcy
 Code, or suffers an involuntary petition in bankruptcy or receivership not vacated within thu
                                                                                          "EXHIBIT



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  (30) days, the entire balance of this Note and any interest accrued thereon shall be immediately
  due and payable to the holder of this Note.

  Joint and Several Liability - All boirowers identified in this Note shall be jointly and severally
  liable for any debts secured by this Note.

  Modification - No modification or waiver of any of the terms of this Agreement shall be allowed
  unless by written agreement signed by both parties. No waiver of any breach or default
  hereunder shall be deemed a waiver of any subsequent breach or default of the same or similar
  nature.


  Transfer oftlie Note - The borrowers hereby waive any notice of the transfer of this Note by the
  Lender or by any subsequent holder of this Note, agree to remain bound by the tei-ms of this Note
  subsequent to any ti-ansfer, and agree that the teims of this Note may be fully enforced by any
  subsequent holder of this Note.

  Severability of Provisions - In tlie event that any portion of this Note is deemed unenforceable,
  all other provisions of this Note shall remain in full force and effect.

  Choice of Law - All tei-ms and conditions of this Note shall be inteipreted under the laws of the
  state of Ohio.


  Signed Under Penalty ofPeijuiy, this 9th-Day of December. 2019,


  L^B^L^^Ei
 Matthew Motil for NS Equity Cleveland, LLC




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016.22-010 ^?(%^&<S^ F.04222021-16 ,
                            TaxDist. 3100                                                !CUWH^S"CERS:2,
SFR3-020 LLC
Warranty Deed
                         LUC: 5100 Ex:
                         LAND: 7,800
                                                                                         's^Ls^
Sale Amt: s 52.000.00
Conv. Fee: $128.00
                         BLD& 11,600
                         TOTAL: 19,400
                                                                                         2021O4220405
 Bridge Tttle

                                   •>•<•
          "^" io    2 2 2 2 6




                                           GENERAL WARRANTY DEED

    File No.: 78032-OH

            THIS DEED is made this ^ day of Af^ )                                 _, 2021 between NS Equity
    Cleveland, LLC ("Grantor") in favor ofSFR3-020 LLC ("Grantee").
             Grantor, for valuable consideration paid, grants, with general warranty covenants, unto
    Grantee, and whose tax mailing address is, ^QCuj^^e^^ ^ % l^' <^. Sc,^ ^»J ^,C>
                                                                                                 9L-ft33&
    the following real property (the "Property"):
             Situated in the City of Cleveland, County ofCuyahoga and State of Ohio, and known as
             being Sublet No. 196 in Joseph Storers Allotment of part of Original Brooklyn Tow-nship
             Lot No. 46, now in said City.

             Said Sublet No. 196 has a frontage of 40 feet on the Easterly side of West 50th Street
             (formerly Isabella Street), and extends back 128.32 feet deep on the Northerly line, 127.53
             feet deep on the Southerly line, and is 40.01 feet wide in the rear, as per plat of said allotment
             recorded in Volume 12 of Maps, Page 50 ofCuyahoga County Records, be the same more or
             less, but subject to all legal highways.

             *And also including part of a vacated alley shown by the recorded plat in Volume 227, Page
             95 of Cuyahoga County Records,

             Parcel Number: 016-22-010
             Prior Instrument Number: 201909130459
             Property Address: 3593 Wesi 50 Street, Cleveland, OH 44102

              Exceptions to the general wanaiity covenants; (a) such encroachmems and recorded
     restrictions, easements and conditions, including without limitations subsurface rights, which do not
     materially adversely affect the Property's use or value; (b) zoning ordinances, if any; (c) taxes and
     assessmeiits, whether general or special, which are a lieii on the Property but are not yet payable; (d)
     all coal, oil, gas, and other mineral rights and interests previously transfeired or reserved of record.




                                                                                                         EXHIBTT
                                                                                                   II
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         IN WITNESS WHEREOF, Grantor have caused these presents to be executed the day and
 year first above written,


                                                           'A                         ^
                                                           NS Equity Cleveland, LLC
                                                           By: Matthew Motil
                                                           Its: Managing Member




 STATE OF _^4/t9 )
 COUNTY OF C^^A^^ ) SS.
 BE IT REMEMBERED, that on this _^ day of ^?^,? _ 2021, before me, the
 subscriber, a Notary Public in and for said state, personally came NS Equity Cleveland, LLC by
 Matthew IMotil, its Managing Member, and acknowledged the signing thereof to be their
 voluntary act and deed. IN TESTIMONY WHEREOF, I have hereunto subscribed my name and
 affixed my ofRcial seal on the day and year last aforesaid,



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                                                           -&^_>L
                  /^^^\                                    Notary Public
                                                           Print Name:                 •^n <^-*^»^<-t.
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                                ;?r
                          ^           m       ^
                         C6 y         ^M     5i s'
                    ^                  S3?
                    ^.^




            This instrument prepared by Akhil M. Patel, Esq., 6055 Tain Drive, Suite 200, Dublin, Ohio 43017




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                                        Promissory Note

 On this date of June 26, 2020, in return for valuable consideration received, the undersigned,
 NSEM Mansfield 1, LLC (hereinafter "Borrower") jointly and severally promises to pay
 Danielle Hansen (hereinafter "Lender"), the sum of $85,000.00 together with interest thereon, as
 stated in the terms of this note.

 Terms of Repayment - This loan shall be repaid under the following terms:

 $85,000.00 to be financed at 12% simple interest payed in arrears - Monthly payments of
 $850.00. 1st prorated payment on August 1st, 2020, last payment on February 1, 2021 with a
 balloon of $85,000.00

 Collateral - The following property will be used as collateral -

 431 Plymouth Street, Plymouth, Ohio 44865

 Payable On Demand - The entire unpaid principal and accmed interest thereon,
 if any, shall become due and payable on demand by the holder of this note 30 days
 after such demand is made in writing.

 Place of Payment - all payments due under this note shall be made by ACH or mailed to

 or at such other place as the holder of this Note may designate in writing.

 Borrower's Address - The Borrower shall provide to provide prompt written notice to the
 Lender of any change of address.

 Prepayment - This Note may be prepaid in whole or in part at any time without premium or
 penalty. All prepayments shall first be applied to interest, and then to principal payments in the
 order of their maturity.

Default - In the event of default, the borrower[s] agree to pay all costs and expenses incurred by
the Lender, including all reasonable attorney fees (including both hourly and contingent attorney
fees as permitted by law) for the collection of this Note upon default, and including reasonable
collection charges (including, where consistent with industry practices, a collection charge set as
a percentage of the outstanding balance of this Note) should collection be referred to a
 collection agency.

The note holder understands and agrees that regardless of any other provisions contained herein,
this note is a non-recourse note and the holder's sole recourse in the event of a default shall be
against the property securing this note and not against the borrower.

Acceleration of Debt - In the event that the borrower fails to make any payment due under the
terms of this Note, or breach any condition relating to any security, security agreement, note,
mortgage or lien granted as collateral security for this Note, seeks relief under the Bankruptcy
Code, or suffers an involuntary petition in bankmptcy or receivership not vacated within thirty
                                                                                                 EXHIBIT

                                                                                                     E
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 (30) days, the entire balance of this Note and any interest accmed thereon shall be immediately
 due and payable to the holder of this Note.

 Joint and Several Liability - All borrowers identified in this Note shall be jointly and severally
 liable for any debts secured by this Note.

 Modification - No modification or waiver of any of the terms of this Agreement shall be allowed
 unless by written agreement signed by both parties. No waiver of any breach or default
 hereunder shall be deemed a waiver of any subsequent breach or default of the same or similar
 nature.


 Transfer of the Note - The borrowers hereby waive any notice of the transfer of this Note by the
 Lender or by any subsequent holder of this Note, agree to remain bound by the terms of this Note
 subsequent to any transfer, and agree that the terms of this Note may be fully enforced by any
 subsequent holder of this Note.

 Severability of Provisions - In the event that any portion of this Note is deemed unenforceable,
 all other provisions of this Note shall remain in full force and effect.

 Choice of Law - All terms and conditions of this Note shall be interpreted under the laws of the
 state of Ohio.


                                          th
 Signed Under Penalty of Perjury, this 2612  Day of June, 2020,



                             K

Matthew Motil for
NSEM Mansfield 1,LLC




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                                        [Space Above This Line For Recording Date]

                                                       MORTGAGE

         Made on this 25vn- day of JUNE , 2020,
         Between

         DANIELLE HANSEN
                                                                                          (hereinafter "Mortgagee")
         And

         NSEM MANSFIELD 1, LLC
                                                                                          (hereinafter "Mortgagor")

         Whereas, MORTGAGOR by its Note (hereinafter the "NOTE") dated JUNE 25, 2020 is indebted to
         MORTGAGEE m the principal amount of $85,000.00 advanced by MORTGAGEE to MORTGAGOR,
         together with interest thereon at the rate(s) provided in the NOTE until the INDEBTEDNESS is paid in
         full in the manner and at the times set forth in the NOTE, with the final payment of principal and interest,
         if not sooner paid, due and payable at the maturity date set forth in the NOTE, as the saine may be
         amended, and containing other temis and conditions, all of which are specifically incorporated herein by
         reference; and

         Whereas, as a condition to extending the aforementioned INDEBTEDNESS to MORTGAGOR, the
         MORTGAGEE requires, and MORTGAGOR has agreed to secure the payment and performance of its
         obligations under the Note with this MORTGAGE.

         Now, Therefore, MORTGAGOR, in consideration of the INDEBTEDNESS and as security for the
         payment of the same, does hereby mortgage, grant and convey to the MORTGAGEE, its successors and
         assigns:

        All of MORTGAGOR'S right, title and interest in, to and under (i) the premises conuiionly referred to as
        860-904 ELM STREET, BUCYRUS, OHIO 44820 (i) as more particularly described in Exhibit A
        attached hereto and made a part hereof, together with all of the easements, rights of way, privileges,
        liberties, hereditaments, gores, streets, alleys, passages, ways, waters, watercourses, rights and
        appiirtenances thereunto belonging or appertaining and all of the estate, right, title, interest, claim and
        demand whatsoever of the Mortgagor therein and in the public streets and ways adjacent thereto, either at
        law or in equity, in possession or expectancy (collectively, the "Property"); and (ii) the structures and
        buildings, and all additions and improvements thereto, now or hereafter erected upon the Property
        (including all equipment constituting fixtures thereon) (collectively, the "Improvements", and
        together with the Property, the "Mortgaged Premises");

         TO HAVE AND TO HOLD, the Mortgaged Premises unto the Mortgagee, its successors and/or
         assigns, to its o\vn use forever in accordance with the provisions hereof.
        Provided, however, that if the MORTGAGOR shall pay to the MORTGAGEE the INDEBTEDNESS
        and shall fully perform each of the other covenants and agreements hereinafter set forth, then this
        Mortgage and the estate hereby granted and conveyed shall become void.
         This Mortgage is executed and delivered subject to the following covenants and agreements:
        (1) MORTGAGOR shall promptly pay when due the INDEBTEDNESS according to the
                          NOTE and this Mortgage.
                                                                                                                        EXHIBIT

                                                                                                                        r
                                                                                                         Page 1 of 5
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         (2)       Until the INDEBTEDNESS is fully paid, MORTGAGOR shall: (a) pay and discharge,
                   when the same shall become due and payable, all taxes, assessments, sewer and water rents
                   and all other charges and claims assessed or levied from time to time by any lawful
                   authority upon any part of the MORTGAGED PREMISES and which shall or might have
                   priority in lien or payment to the DsIDEBTEDNESS secured hereby, such payments to be
                   made directly to the person or entity to which payment is owed; (b) pay and discharge all
                   liens, claims or encumbrances which may be filed against the MORTGAGED PREMISES
                  and which might have priority in lien or payment to the INDEBTEDNESS secured hereby;
                  (c) provide and keep in effect, by paying the necessary premiums and charges thereon, such
                  policies of hazard and liability insurance as MORTGAGEE may from time to time require
                  on the improvements now or hereafter erected on the MORTGAGED PREMISES, with
                  loss payable clauses m favor of MORTGAGOR and MORTGAGEE, as their respective
                  interests may appear; and (d) promptly submit to MORTGAGEE evidence of the date and
                  punctual payment of all of the foregoing charges. In the event of loss, MORTGAGOR
                  shall give prompt notice to the insurance carrier and MORTGAGEE. Unless
                  MORTGAGEE and MORTGAGOR otherwise agree in writing, insurance proceeds shall
                   be applied to restoration or repair of the MORTGAGED PREMISES, if the restoration or
                  repair is economically feasible and MORTGAGEE'S security is not lessened. If the
                  restoration or repair is not feasible or if MORTGAGEE'S security would be lessened, the
                  insurance proceeds shall be applied to the INDEBTEDNESS secured by this Mortgage,
                  whether or not then due, with any excess paid to MORTGAGOR. If MORTGAGOR
                  abandons the MORTGAGED PREMISES or does not answer, within 30 days, a notice
                   from MORTGAGEE that the insurance carrier has offered to settle a claim, then
                   MORTGAGEE may collect the insurance proceeds. MORTGAGEE may use the proceeds
                  to repair or restore the MORTGAGED PREMISES or to pay the INDEBTEDNESS
                  secured by this MORTAGEE and MORTGAGOR otherwise agree in writing, any
                  application of proceeds to principal shall not extend or postpone the due date ofmontMy
                  payments. If the MORTGAGED PREMISES are acquired by the MORTGAGEE tlirough
                  foreclosure, MORTGAGOR'S rights to any insurance policies and proceeds resulting from
                  damage to the MORTGAGED PREMISES prior to the acquisitions shall pass to
                  MORTGAGEE to the extent of the INDEBTEDNESS secured by this Mortgage
                  immediately prior to the acquisition.

        (3)       MORTGAGOR shall maintain all improvements subject to this Mortgage in good and
                  substantial repair, MORTGAGEE shall have the right to enter upon the MORTGAGED
                  PREMISES at any reasonable hour for the purpose of inspecting the order, condition and
                  repair of the improvements erected thereon.

        (4)       MORTGAGOR covenants and agrees not to create, nor permit to accme, upon all or any
                  part of the MORTGAGED PREMISES any debt, lien or charge which would be prior in
                  lien or payment to the lien of this Mortgage.

        (5)       In the event MORTGAGOR neglects or refuses to perform the covenants and agreements
                  contained in this Mortgage, then MORTGAGEE may, but shall not be required to, do so,
                  and make whatever advances are necessary to protect the value of the MORTGAGED
                  PREMISES and MORTGAGEE'S rights in the MORTGAGED PREMISES, provided that
                  no such payment by the MORTGAGEE shall be considered a waiver or release of any
                  remedy MORTGAGEE may have against MORTGAGOR. MORTGAGEE'S actions may
                  include paying taxes, assessments, maintenance charges, insurance premiums, costs or
                  expenses for the protection of the MORTGAGED PREMISES or the lien of this Mortgage
                  or paying expenses, including attorney's fees, incurred by reason of the MORTGAGOR'S
                  default. Any advances made by MORTGAGEE hereunder shall become additional
                  INDEBTEDNESS of MORTGAGOR secured by this Mortgage. Unless MORTGAGEE
                  agrees m writing to other terms of payment, these advances shall bear interest from tlie date
                  of disbursement at the rate(s) set forth in the NOTE and shall be payable, with interest,
                  upon notice from MORTGAGEE to MORTGAGOR requesting payment.
        (6)       Should the MORTGAGED PREMISES or any part thereof be taken or damaged by reason
                  of any public condemnation proceeding or similar action, the MORTGAGEE shall be
                  entitled to all compensation, awards, and any other payment or relief therefore to the extent
                  of the outstanding INDEBTEDNESS and shall be entitled, at its option, to commence,
                  appear in, and prosecute in its own name, any action or proceeding or to make any
                  compromise or settlement in connection with such taking or damage. All such
                  compensation, awards, damages, rights of action, and proceeds are hereby assigned to the




                                                                                                  Page 2 of 5
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                         MORTGAGEE, who may, after deducting there from its expenses, including attorney's
                         fees, release any monies received by it or apply the same to any INDEBTEDNESS secured
                         hereby.

         (7) If all or any part of the MORTGAGED PREMISES or any interest in it is sold or
                         transferred, or if a beneficial interest in MORTGAGOR is sold or transferred and
                         MORTGAGOR is not a natural person, without MORTGAGEE'S prior written consent,
                         MORTGAGEE may, at its option, require immediate payment in full of all
                         INDEBTEDNESS secured by this Mortgage. This option shall not be exercised if
                         prohibited by law as of the date of this Mortgage. If MORTGAGEE exercises this option,
                         MORTGAGEE shall give MORTGAGOR written notice of acceleration. This notice shall
                         provide a period of not less than 30 days from the date the notice is mailed within which
                         MORTGAGOR must pay the entire INDEBTEDNESS. If MORTGAGOR fails to pay
                         these sums prior to the expiration of the 30-day period, MORTGAGEE may invoke any
                         remedy pemiitted by this Mortgage without further notice or demand on MORTGAGOR.
         (8) The following shall constitute Events of Default under this Mortgage: (a)
                      MORTGAGOR'S failure to pay any installment of principal or interest in accordance with
                      the NOTE; (b) MORTGAGOR'S failure to pay any other sum required to be paid in
                      accordance with the NOTE or this Mortgage, when the same is due and payable; or (c)
                     MORTGAGOR'S failure to perform any covenant or agreement in the NOTE or this
                      Mortgage. If one or more of the foregoing Events of Default occurs, MORTGAGEE may,
                      at its option, after any notice and opportunity to cure required by law and otherwise without
                      notice and opponunity to cure, declare the entire unpaid balance of the INDEBTEDNESS
                     to be immediately due and payable. MORTGAGEE may immediately institute an action
                     of mortgage foreclosure or take any other legal action for the enforcement of this Mortgage,
                     and proceed to final judgment and execution thereon for the INDEBTEDNESS, costs of
                     suit and an attorney's conunission for collection of ten percent (10.0%) but not
                     less than $2,500.00. Interest at the highest rate provided in the NOTE shall continue to
                     accrue on any judgment obtained by MORTGAGEE, until actual payment is made of the
                     fiill amount due MORTGAGEE. MORTGAOR hereby waives and releases all benefits
                     that might accrue to MORTGAGOR by virtue of any present or futiire laws exempting the
                     MORTGAGED PREMISES, or any part of the proceeds arising from any sale thereof,
                     from attachment, levy or sale under execution, or providing for any stay of execution,
                     exemption from civil process, or extension oftiine for payment.

         (9) The covenants in this Mortgage shall bind, and its benefits shall inure to, the
                    MORTGAGOR and the MORTGAGEE and their respective heirs, executors,
                    administrators, successors and assigns, subject to the provisions of Paragraph 8.

         (10) If this Mortgage is executed by more than one person, the undertakings and liability of each
                         shall be joint and several.

         (11) Any notice which is mailed certified mail to MORTGAGOR or to the person(s) who
                      (is)(are) the then owner(s) of the MORTGAGED PREMISES at the address of the
                      MORTGAGED PREMISES or at such other address as MORTGAGOR shall designate to
                      MORTGAGEE in writing, shall be sufficient notice when required under this Mortgage.

        (12) MORTGAGEE'S rights and remedies as provided herein or in the NOTE shall be
                         cumulative and concurrent, and may be pursued singly, successively or together, at the sole
                         discretion of MORTGAGEE, and may be exercised as often as the occasion therefor shall
                         occur; and the failure to exercise any right or remedy shall in no event be constmed as a
                         waiver by MORTGAGEE or release of the same.

         (13) In the event any temi or provision of this Mortgage or the application thereof to any person
                        or circumstances shall, to any extent be invalid and unenforceable, the remainder of this
                        Mortgage, or its application other than to that which is held invalid or unenforceable, shall
                        not be affected thereby, and each term and provision hereof shall be valid and enforceable
                         to the fullest extent pennitted by law.

        This Mortgage shall be governed by the law of Ohio, in which the MORTGAGED PREMISES are
        located. This provision shall not limit the applicability of federal law to this Mortgage.




                                                                                                       Page 3 of 5
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        Executed this _26th__ Day of JUNE               ^
                                                            2020


         For the Mortgagor,



        Bv: IVIatthew Motil


        ACKNOWLEDQMENT STATE OF __Qb\0                                . COUNTY OF Qo^hft^
        On this26th day of JUNE__ , 2020                                      personally appeared before me,
           Matthew Motil


        known to me or provided sufficient identification, to be the person(s) whose name(s) are subscribed to the
        within instrument and acknowledged that they executed the same for the purposes therein contained.

         ^)raA%^ M KtAfc. _ (seal)
        Notary Public

        My commission expires: IZ f 16 / &>Z.S
                                                                •»,^                      :\
                                                                I
        Document Prepared by Matthew Motil                     VL "
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                                                   Exhibit A
                                               Legal Description

         Situated in the State of Ohio County ofRJ[CHLAND and in the City of PLYMOUTH
         Located at:
         431 PLYMOUTH STREET, PLYMOUTH, OHIO 44865
         With the legal description:

         Parcel No. - 03 5-56-161-01-001




                                                               Ki:




                                                                                        Page 5 of 5
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                                                                                      BK: 2878 PC: 26

                                                                                      202100004453
                                                                                      Filed for Record in
                                                                                      RICHLAND
                                                                                      SARAH 0 DAVIS, RECORDER
                                                                                      03:31:20?LAt ll;OA am;
                                                                                      AFFLOSTKORT" ""98.00'
                                                                                      OR Book 2878 Pegs '26 - 35
                                                                            202100004452
                                                                            ^.RENNftN HANNA OIAHOND LLC
                                                                            200 PUBLIC SQUARE
                                                                            •SUITE ,(270
                                                                            CLEVELAND OH 4+114
                               AFFIDAVIT OF PACTS RELATING TO TITLE
                                                 O.R.C. 5301.252



         STATE OF FLORIDA             )
                                      )SS:             ^

         COUNTY OF LEE                )


                I, Danielle Hansen, after being first duly sworn, state as follows:

         1. I am over the age of eighteen and am competent to testify as to the matters set forth herein.

         2.     This Afiidavit is made pursuant to O.R.C. 5301.252, and pertains to the property commonly

         known as 431 Plymouth Street, Plymouth, Ohio 44865 (the "Property") legally described as follows:

                SITUATED IN THE VILLAGE OF PLYMOUTH, COUNTY OFRICHLAND AND
                'STATE OF OHIO: BEING IN OUTLOT NUMBER THIRTY-FOUR (#34) IN SAID
                VILLAGE, MORE FULLY BOUNDED AND DESCRIBED AS FOLLOWS:
                BEGINNING AT AN IRON BAR MONUMENT SET ON THE EASTERLY
                RIGHT-OF-WAY LINE OF PLYMOUTH STREET, SAID BAR BEING 307.38
                FEET SOUTH 01 DEGREES 47 MINUTES 45 SECONDS EAST FROM THE
                NORTH WEST CORNER OF SAID OUTLOT NO. 34- IN THE SAID VILLAGE;
                THENCE NORTH 89 DEGREES 08 MINUTES 15 SECONDS EAST, A
                DISTANCE OF 210.28 FEETTO AN IRON BAR MONUMENT;
                THENCE SOUTH 01 DEGREES 47 MINUTES 45 SECONDS EAST, A
                DISTANCE OF 208.68 FEET TO AN IRON BAR MONUMENT;

                THENCE NORTH 87 DEGREES 12 MINUTES 30 SECONDS WEST, A
                DISTANCE OF 210.93 FEET TO AN RON BAR MONUMENT SET ON THE
                EASTERLY RIGHT-OF-WAY LINE OF PLYMOUTH STREET; THENCE
                NORTH 01 DEGREES 47 MDWTES 45 SECONDS WEST ALONG SAID




                                                                                                                EXHIBIT

                                                                                                                  Gt
22-10571-aih    Doc 69        FILED 08/03/22               ENTERED 08/03/22 10:49:39                      Page 39 of 65
                                                                                BK: 2878 PC: 27
                EASTERLY RIGHT-OF-WAY OF PLYMOUTH STREET, A DISTANCE OF
                195.24 FEET TO THE PLACE OF BEGINNING.
                THE ABOVE BOUNDS ENCLOSE AN AREA OF .9748 OF AN ACRE OF LAND,
                SUBJECT HOWEVER TO ALL LEGAL EASEMENTS OF RECORD.
                PARCEL NO; 035-56-161-01-001

                431 PLYMOUTH STREET, PLYMOUTH, OHIO


         3. Title to the Property is currently held in the name ofNSEM Mansfield I, LLC ("NSEM").
         4. On approximately June 251b, 20201 entered into a lending transaction with NSEM whereby
         a mortgage upon the real property described above to secure the sum of Eighty-Five Thousand
         Dollars ($85,000) ("Mortgage") lent was to be filed with the Richland County Recorder.
         5. A true and accurate copy of the Mortgage supplied by NSEM is attached hereto as Exhibit
        "A".

        6. 1 was issued a Promissory Note for the Mortgage on June 26tt, 2020, a true and accurate
        copy of which is attached hereto as Exhibit "B".

        7. I have not been provided an unrecorded complete original or a copy of a mortgage upon the
        Property.

        8. I have not been provided an original or copy of a mortgage upon the Property recorded in the
        Richland County Records.

        9. I cannot locate a notation of the Mortgage being recorded on the online records of the
        Richland County Records.

        10. I am not aware of the location of a mortgage to Mortgagee upon the Property.
        II. I claim an equitable mortgage upon the Property in the name of Danielle Hansen; and


                                                      2




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                                                                                    BK: 2878 PG: 28
          12. I state that it is necessary to record and claim a mortgage interest on the Property to protect
          the secured status bargained for in the loan transaction.

                 Affiant slates nothing further.


                                                               By:
                                                                      J               ^^
                                                                      Danielle Hansen


          STATE OF FLORIDA. COUNTY OF LEE, ss:



                 The foregoing instrument was sworn to before me and subscribed in my presence this ^T
         day of March, 2021, by Danielle Hansen.



                                                                 /{^/;. ^,
                              Ncxuy PuBK Sttf ol Fhxuta
                             VICKIE L GOLDEN
                           S My'CommtwnG09?M09
                             sif.MWwm*
                                                              Notary Public




                                                          3




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                                                                                                                      BK: 2878 PG: 29




                                      .(Sp»ce Above This Lint For Rcconiins Date]_
                                                     MORTCAGE

         MKteanthla"tt'.dayof JUNE .2020.
         Betwua

        DANIELUHANSEN
                                                                                        (hereinafter "Mortgigtc")
        And

        NSEM MANSFIELD 1, LLC
                                                                                        (htrelnafter "Mortgagor^
                                                         to (he "NOTE") dated JUNB 25.2020u indcblcd to
        MORTGAGEE in the principal unount of»5,000.00 tdnnccd by MORTOAOEE lo MORTOAOOR,
        togttfaer with Interest ihttcon it tbt ntt<s) prov)dt<t in (be NOTE unUI Iht INDEBTEDNESS it paid In
        fiill in the inuuxr uxl at tbt time tet forth to tlie NOTB, with Uic nnal paynwnt of principal and inlcrut,
        if aot toooer paid, due uid payable «t the mtturity date BCI forth in the NOTB, as the aame may be
        uneadcd, and coattiBug olhtr (CTBt «nd cotKlltloiu, all ofwhicb an apccifically incotpantcd buein by
        nfuu>c«;*ad

        Whereu, u • coodih'on to extending Ihc aforementioned INDEBTEDNESS to MORTGAGOR, the
        MORTGAGEE lopiiru, •ixl MORTGAGOR hu agrttd to lccun (he payment tnd pcrforonnce of iu
        obUgaliou under the Note with Ihit MORTGAGE.
        Now, Thcrtfore, MORTOAOOR, in ctnuidenlion of the INDEBTEDNESS «nd «a ttcurity for the
        paymuit of the lame, doc» bcnby mortgtge, gract tnd convey to the MORTGAGEE, its tucooaon and
        auigiu:

        Alt ofMORTOAGOR'S right, titlt lad fatcnst in, to and under (i) Iht pteniiiet commonly refund (o u
        8604(M ELM STREET, BUCTRUS. OHIO 4WU (i) u mon ptrticulariy docribcd in Exhibit A
        atuchcd hento »nd nude t ptrt hcnof, teythCT with all cf llw eaaoncau, right* of way, pciriltgu,
        liberties, hCTcditarocnts, gom, ttrecte, alley, pautges, ways, waten, witcreouraes, (ightt and
        apputteninca Ihcnunto bdoaging or tppotaining aad all of the eatatc, right, tide, iBtcresl, cliim and
        dcnuid whataocvcr of the Mongtgor thcrdn and h Ibc public stnttt tad wya idjacuil thereto, eithec at
        law or in equity, In poudion or expectancy (collcctinly, the 'Tropaty"), and (ii) the nructuret «nd
        building!, and alt ailditiont and fmpmwments thereto, now oc hereafler cnctcd upon the fiopeny
        (including ill equipment tonaU'tuling fixhuo thereon) (collectively, the "Improvcmtnta", and
        together wltli the Propmy, the "Mongagcd Prunfacs");
        TO HAVE AND TO HOLD, the Mortgagtd Pceinlses unto Ihe Mortgagee, its KKSceaon UKl/or
        auigiu, to iu own use forcwr in ucndance with the ptovltioaa hcnot
        Pro»lded, howewr, that if tht MORTOAOOR diall pay to Ihc MORTGAGEE UK: INDEBTEDNESS
        and thall folly perfonn e«cb of th« oilier covenants and tgrecfflentt bcreintfto tet forth, thta this
        Mortgage «nd Ihc csttle henby gnnted uid coawycd alall became void.
        Tblt Martfgc is exccutul and delhrcred cibjtct to the following covtnants uid «gn«ro«at»:
        (1) MORTGAGOR tfiatl prompdy pay when due Ihe INDEBTEDNESS accoiillng to Ihe
                       NOTE uid thit Mortgagt.                                                                                EXHfBJT




                                                                                                     hgalofS




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                                                                                                                  BK: 2878 PG: 30

         m        Until the FNDEBTEDNESS it fully paid, MORTOAGOR ahtll: (a) pay and ditduige,
                  when the tune iball becoincdue «nd paybtCi •II l»xc», atstuaienti, uwa and water renu
                 »nd ill other clurgei and claimi aucacd or levitd Som lime to time by any lawftil
                 authority upon any ptrt of the MORTOAGED PREMISES •nd wliich «ha!l« miglil h«ve
                 priority In lien or piyinat to tho INDEBTEDNESS ttcared hereby, tuch payincnt* to be
                 nudt directly to the penoa or entity to which piymcnt it owed; (b) pay and dischuge •II
                 fleet, datnuor cocumbnnces which nwy be filed ag«!n»t the MORTOAOED PREMISES
                 •nd which might ban priority in Ilcn or pynicnt to the INDEBTEDNESS secured hatty,
                 (c) provide *nd keep " *ff«^ ty paying tiicnc^uuy pnnhmu uid dujgc* Ihenoa, tuch
                 policto of hazud «od liibillly btunncc u MORTOAOEE nay fhxn time to tlroe re<[uirc
                 on Ihc impTovonenu now or hereafter avcted on the MORTOAOED PREMISES, with
                 too ptyxble clmua in {iwr ofMORTOAOOR nnd MORTOAOEE, u ftclr (eapc«ivt
                 inttresti may Bppcw; «nd (d) pnxnptly subtnit to MORTOAGEE eviilcncc of the dtte «nd
                                                          In llic <vcnt of loss, MORTOAOOR
                 »!uU gh/e pnmpl notice la the inaunixx ctfrier ind MORTGAGEE. Uclcu
                 MORTOAOEE «nd MORTGAGOR othcrwiu tgtw In writing, Iiuurance proctcd* •tiall
                 be applied to tftontiao or nptir oftbe MORTCAOBD PREMISES, if the nttandon or
                 rqulr it eoonomittlly feasible and MORTGAGEE'S tuurily It not lenaiei). If the
                 rertontion or tcpalt ii nol fcuible or ifMORTOAGEE'S twurity would be IcnaKd, the
                 inuuuiec piocctd* «h«U be tpplied to tke INDEBTEDNESS semrti by thla Mortg«g<,
                 whether or not (hen due, with uiy exuu paid to MORTOAOOR- If MORTOAGOR
                 ibandon* the MORTGAGED PREMISES or doa not snma. wilhfn 30 day, • nodcc
                 from MORTOAOEE thtl Ibe caunncis curler haa offcfed to tenlc a d«im, Uisn
                 MORTOAGEEniycallettllicinanncepnxtedt. MORTOAGEEnuyusc(bcprocc«l*
                 to nptlr or rutore the MORTGAGHD PREM1SBS or to pay tbe INDEBTEDNESS
                 ttcurcd by thii MORTAOEE uid MORTGAGOR olhawite tgne in writing. «ny
                 appliatioa of procccdi to pricripal ahall not exttnd or postpone (he due date ofcwnlhly
                 piymeatt. If Die MORTGAGED PREMISES tn tcquinsd by the MORTOAOBE duough
                 fondonui, MORTOACOR'S rigblt to «ny iiuuruice policies eod procttds rwiltiag fiom
                 dtnugc to the MORTGAGED PREMISES plicr to the xxiuititloM tbtll pui to
                 MORTGAGEE to the extait of (he INDEBTEDNESS accured by lhi< Mongage
                 Inuncdlttdy prior to thf: acquiaillon.
         (3)     MORTOAGOR ahall nuinltin •II iinprovemcnla subjwt to lhi» Mortgagr in good and
                 •ubttantid nptlr, MORTGAGEE ibtll have (be right to cnlcr upon (be MORTOAOED
                 PREMISES it uiy nauxubk hour for Ibe puipoie of htpectuig the onter, condition «nd
                 rqucr ofthc imptovcjncnts erected (bwcoit.

         w       MORTOAOOR covouult «nd agtc«t not to creitc, nor pcnnit to Bcuue, upon all Of uiy
                part of the MORTGAGED PREMISES «ny debt, lioi or chuge which would be prior in
                 lico or ptymcnl (o the lien of this Mortgage.

         w       In Ike tvenl MORTOAOOR ncgtccu or reftuf to pafonn Ibt cov«a«nta uid tgretmaitt
                 conlilncd In (hi* Mortgtge, then MORTOAOEE nuy, but dull not be required to, do 10,
                 ud mtlce whisewr ubinu* uc ncceuary to protttt Ibe value of the MORTOAOED
                PREMISES *nd MORTOAOEE'S risliu la tbt MORTGAOED PREMISES, provided tfuit
                no tucb ptyrocnl by the MORTOAOBB shall be coniidCTcd a waiwr or retciK of tny
                remedy MORTOAOBE m*y hive «««lml MORTOAOOR. MORTOAOEE'S •clioR* may
                Include plying Uxu, tuosmcnta, inalntenanee chu'gtt,
                txpeBsa fv lh< protalion of the MORTCAOBD PREMISES or tfw lien of this Mortgtgt
                or paying cxpenia, including •ttonicy'i fca, incumd by nuoa of the MORTOAOOR'S
                dcftull. Any advoco inulc by MORTOAOEE bncunder dull bttomc tddlliontt
                INDHBTEDNESS of MORTGAGOR accured by thia Mortgage. Unlea MORTCAOEE
                tgroc* In writing to otter tonu of payment, lh«se ulvancct alall bc*r intCTeit fi-oni tl>e date
                ofdlibunanau «t llw ntc(») td (brtb In (he NOTE »nd ahtll be payblc, wil!) inteal,
                igwn notice ftwn MORTGAGEE to MORTOAOOR n<iuc»ting payroCoL

        w       Should (ie MORTOAOED PREMISES or any part thereof be takta or damaged by i
                of *ny public toodcmnuion proceeding or tlmllu' action, (be MORTOAOEE riull be
                entitled to •II ccmpcnalion, awuds, and any other payrocnt or relief (hcrefore to I|K! extent
                of the ouUttoding INDEBTEDNESS ud tlull be entitfcd, «t it* optian, to tomaeaw,
                tTpew in, *nd protecctB u ta own ounc, iny •cdoa or proccuiing or to nitke «ny
                CTropromitc or itUlmxnt in conncclion wiUi nich ttking or dtnugc. All tuch
                coinpcnsttlcn, twardt, danugu, righB of action, *nd procetd* tre hcnby auigixd to Ibc



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                                                                                                                  BK: 2878 PG: 31

                        MORTOAOEE, who miy, «ner dcduciing Ihtre from ll» cxpuucs, including tttorocy't
                        f«t$, reluse any monies rectived by it or tpply the tarns to any INDEBTEDNESS icuited
                        hereby.

        (7) If all «r any part of (lie MORTOAOED PREMISES or any Interut in It i» sold or
                        tnuufurat, or if • beneficial Intereat In MORTOAaOR la sold or tniufcrred «nd
                        MORTOAGOR ia not e natunl ptraon, without MORTGAGEE'S prior written consail,
                        MORTOAOEE may, tl iu option. require iminciitlc ptymenl in (ull of all
                        INDEBTEDNESS sceund by thlt Mongtgt. Thi» option »hall net be excniatd if
                        prohibited by law u ofllu daKofthii Mortgtgc. If MORTGAGEE (xcreittl thu ofion,
                        MORTGAGEE dull give MORTOAOOR wriHai notiw ofaccetcntion. Thh notice shall
                        providt a period of not lets than 30 days duro the date (ho notict!» mailed within which
                        MORTOAOOR mud pay Uic totin INDEBTEDNBSS. If MORTOAOOR fail* to pay
                        thcae aunu P"or to (he cxplnllon oflht 3(W*y period, MORTOApEE iiuyuiyolu «ny
                        reoiuly pennitttd by thla Mongagc without fitrther colicc or demand on MORTGAOOR.
        (8) The following thall cocstitute EvenU of Dchull uodtr this Mortgage: (•)
                    MORTGAGOR'S ftihire top»y iiay uulallaail ofprindptl or lisaest In •cconttnct with
                    the NOTE; (b) MORTOAOOR'S fillun to pay any clhcr nim reqaiiid to be paid m
                    tccoriuice with the NOTE w thit Mortgagt, when the same Is due uxl ptyable; or (c)
                    MORTGAGOR'S failun to ptribcm uiy cavenurt cr •greemart in the NOTE or Ihit
                    Mongtgc. Ifone or more of the foregoing EvuiU ofDehult occura, MORTOAOEEnuy,
                    at its option, tner any notice and opportunity to cure required by l»w aid (Xbenvuc without
                    notice and opportunJty to cure, declare the entire unpaid batancc of the INDEBTEDNESS
                    to b« immediately due and paytUc, MORTOAOEE may imincdialely iiutitute «n tction
                    ofinortgtgc foreclonin or lake uy olher kgal action for Itw coforetmCTt of this Mortgage,
                    and procctd to final judgment and execution thereon for Ihc INDEBTEDNESS, caste of
                    suit tnd ui iKcmey'i coiumiuion for collection of ten pentnt (10.0%) but not
                    less Ibm $2,500.00. latutst it the hlBhcst nte provi<fcd in lilt NOTE ahall continue to
                    accnic on inyjudgnicnt cbuintd by MORTOAGBE, unlil utual paynient ia tnadc oftlw
                    Bill uoouat due MORTOAOBE. MORTOAOR hcnby walw and nl<asei Btl bcotnti
                    thai might KUUC to MORTGAGOR by vinue of any present or fliture lawa excnpting the
                    MORTGAGED PREMISES, or any part of the pioceeds triaing from any sate Ditnof,
                    from tlttchment, levy o» ulc under oiccution, or providing for tny »Uy of Cteeation,
                    CTcmption from civil pnxai, of txtension of tinic for payment

        (9) The covenants in this Mcngaflt shtll biixl, and it» bencfltt »h«ll Inun to, (he
                   MORTGAGOR and the MORTGAOEE and thtir respective hcin, exccutora,
                   •dminittnton, aucttuon «nd tulgnt, iubjcct to tbeprovisioiu ofpingnph 8.
        (10) If this Mcrtgage it exccuttd by mote Ihan oiie pcoon, the undataliinBl and liability of cacti
                        •hall be joint and teveiri.

        (It) Any notlct which i» mailed certified mail to MORTOAQOR or to tbc ptnon(1) who
                       (itXut) Ac llien ownct(t) of tht MORTGAGED PREMISES at the tAlreu of tile
                       MORTGAGED PREMISES of at nidi other addren as MORTGAGOR tlutl Asigtiate to
                        MORTOAOEE in writing, shall be tulllciuit notitt when requind under thit Mortgage.
        (12) MORTGAGEE'S righu «n<l rem«diu u provided herein or in the NOTE tbtll bt
                  cumulative uid concuirent, tnd may be punucd •ingly, luoceiaivcly or together, at Uie aolc
                  diauttlon ofMORTOAOBE, and nuy be extreiitd u often u tho occulon tbcrefot ahall
                  occur, and the failure to cxtrelae uiy right or remedy shall in no event be ooiutrucd u a
                  waiver by MORTOAOBE or rcteaie of the wmc.
        (13) In the event iny (am or provitlon of this Mortgage or the apptictlion Ibcreofto any pcnoa
                      Of cireuimtancu ihtll, to uiy cxlttit be invalid tnd uacntorcctbte, UK remtxodcr of this
                      Mortals'." "» •pplication other tlun to llial whidi is hdd inwlK) or uneaforettble, abaU
                      not be affected thcnby, uid ca<h turo and provision hereof shall be valfd and cnforecabtc
                      to dw ftillut ettcol pcnntocd by taw.
        This Mongagc dull be govuocd by Uw l«w ofOhu, ui which the MORTOAOED PREMISES uc
        tocaltd. Th!* provision thnU nal limit the npplicabtUty offedcnl law (o thii Mortgage.




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                                                                                                                    BK: 2878 PG: 32
        Excculcd Ihli 2^<h Day of -'UNE                   2020 .

        ForlhtMortgtgdr,


         By: MaUhaw



        ACKNOWLEDGMENT STATE OF Ohio                                COUNTY OF du<jAh»jtt
        On Ihl. 26th ^rf JUNE                           2020             , pcnonilly Bppcrtd befan me,
          MaUhawMoU.
                  T
        taoini 10 me or |)rovlilcd (ufficknl IdCTOffcDion, to be the pcnon<») who»< nun<(s) »n; tubtcribcd lo Ihc
        within li»tnnn«nj an) •cknfmkdgcd th»t ttwy exnutcd iht •unc for tlie purpotc* Ihtnln eonutned.

        VirUAS^ M KAfc. _(awl)
        Notaiy Public l                                                N1,
        My commlnlon ptplret; IZlltlAZJ                                '^m
                                                               I                     »
        Doninrt Pnpiiid by M«HkCT» Mo<fl                      4 K
                        :                                      ^ i?
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                                                    Exhibit A
                                                 Legal Description                             BK: 2878 PG: 33
        Situated to (te Stale ofOhfo Ccuaty ofRICHLAND aiKl In die City of PI
        Located sU
        431 PLYMOUTH STREET. PLYMOUTH, OHIO 44S6S
        With the legal dtscnption:
        Farul No.- 035.16.161^11-001




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                                                                                            BK: 2878 PG: 34
                                                  Promissory Note

           On this date of June 26.2020, in return for valuable consideration received, the undersigned,
           NSEM Mansfield 1. LLC (hereinafter "Borrower") jointly and severally promises to pay
           Daniclle Hansen (hereinafter "Lender"), the sum of $85,000.00 together with interest thereon, as
           stated in the tenns of this note.

           Terms of Repayment - This loan shall be repaid under the following turns:
           $85,000.00 to be financed at 12% simple interest payed in arrears - Monthly payments of
           $850.00.1" prorated payment on August I", 2020, last payment on February 1,2021 witha
           balloon ofS85,000.00

           Collateral - The following property will be used as collateral -

           43] Plymouth Street Plymouth, Ohio 44865

           Payable On Demand - The entire unpaid principal and accrued interest thereon,
           if any, shall become due and payable on demand by the holder of this note 30 days
           after such demand is made in writing.

           Place of Payment - all payments due under this note shall be made by ACH or mailed to
           or at such other place asdie holder of this Note may designate in writing.

           Borrower's Address - The Borrower shall provide to provide prompt written notice to the
           Lender of any change of address.

          Prepayment • This Note may be prepaid in whole or in part at any time without premium or
          penalty. All prepayments shall first be applied to interest, and then to principal payments in the
          order of their maturity.

          Default - In the event of default, the borrowerfs] agree to pay all costs and expenses incurred by
          the Lender, including all reasonable attorney fees (including both hourly and contingent attorney
          fees as permitted by law) for the collection of this Note upon default, and including reasonable
          collection charges (including, where consistent with industry practices, a collection charge set as
          a percentage of the outstanding balance of this Note) should collection be referred to a
          collection agency.

          The note holder understands and agrees that regardless of any other provisions contained herein,
          this note is a non-recourse note and the holder's sole recourse in the event of a default shall be
          against the property securing this note and not against the borrower.

          Acceleration of Debt - In the event that the borrower fails to make any payment due under the
          tenns of this Note, or breach any condition relating to any security, security agreement, note,
          mortgage or lien granted as collateral security for this Note, seeks relief under the Bankruptcy
          Code, or suffers an involuntaiy pelidon in bankruptcy or receivership not vacated within
                                                                                                   EXHienr
                                                                                                     0




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          (30) days, (lie entire balance oftliis Note and any interest accrued thereon shall be immediately
          due and payable to the holder of this Note.

          Joint and Several Liability • All borrowers identified in this Note shall be jointly and severally
          liable for any debts secured by this Note.

          Modification - No modification or waiver of any of the terms of this Agreement shall be allowed
          unless by written agreement signed by both parties. No waiver of any breach or default
          hereunder shall be deemed a waiver of any subsequent breach or default of the same or similar
          nature.


          Transfer of the Note - The borrowers hereby waive any notice of the transfer of this Note by the
          Lender or by any subsequent holder of this Note, agree to remain bound by the temu of this Note
          subsequent to any transfer, and agree that the terms of this Note may be fully enforced by any
          subsequent holder of this Note.

          Severability of Provisions - In the event that any portion of this Note is deemed unenforceable,
          all other provisions of this Note shall remain in fall force and efFect.

          Choice of Law - All teims and conditions of this Note shall be interpreted under the laws of the
          state of Ohio.


          Signed Under Penalty ofPerjuy, this 26* Day of June, 2020,


          ^feto^
          Matthew Motil for
          NSEM Mansfield 1,LLC




                                                                                                       \




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                                          Promissory Note

   On this date of June 26, 2020, in return for valuable consideration received, the undersigned,
   NSEM Mansfield 2, LLC (hereinafter "Borrower") jointly and severally promises to pay Toby
   Oliver (hereinafter "Lender"), the sum of $150,000.00 together with interest thereon, as stated in
   the terms of this note.

   Terms of Repayment - This loan shall be repaid under the following terms:

   $150,000.00 to be financed at 15% simple interest payed in arrears - Monthly payments of
  $1,875.00. 1st prorated payment on August 1st, 2020, last payment on February 1,2021 with a
  balloon of $150,000.00

   Collateral - The following property will be used as collateral -

   860-904 Elm Street, Bucyrus, Ohio 44820

   Payable On Demand - The entire unpaid principal and accmed interest thereon,
   if any, shall become due and payable on demand by the holder of this note 30 days
   after such demand is made in writing.

  Place of Payment - all payments due under this note shall be made by ACH or mailed to

   or at such other place as the holder of this Note may designate in writing.

  Borrower's Address - The Borrower shall provide to provide prompt written notice to the
  Lender of any change of address.

  Prepayment - This Note may be prepaid in whole or in part at any time without premium or
  penalty. All prepayments shall first be applied to interest, and then to principal payments in the
  order of their maturity.

  Default - In the event of default, the borrower[s] agree to pay all costs and expenses incurred by
  the Lender, including all reasonable attorney fees (including both hourly and contingent attorney
  fees as permitted by law) for the collection of this Note upon default, and including reasonable
  collection charges (including, where consistent with industry practices, a collection charge set as
  a percentage of the outstanding balance of this Note) should collection be referred to a
  collection agency.

  The note holder understands and agrees that regardless of any other provisions contained herein,
  this note is a non-recourse note and the holder's sole recourse in the event of a default shall be
  against the property securing this note and not against the borrower.

  Acceleration of Debt - In the event that the borrower fails to make any payment due under the
  tenns of this Note, or breach any condition relating to any security, security agreement, note,
  mortgage or lien granted as collateral security for this Note, seeks relief under the Bankruptcy
  Code, or suffers an involuntary petition in bankmptcy or receivership not vacated within thirty


                                                                                                       H
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   (30) days, the entire balance of this Note and any interest accrued thereon shall be immediately
   due and payable to the holder of this Note.

  Joint and Several Liability - All borrowers identified in this Note shall be jointly and severally
  liable for any debts secured by this Note.

  Modification - No modification or waiver of any of the terms of this Agreement shall be allowed
  unless by written agreement signed by both parties. No waiver of any breach or default
  hereunder shall be deemed a waiver of any subsequent breach or default of the same or similar
  nature.


  Transfer of the Note - The borrowers hereby waive any notice of the transfer of this Note by the
  Leader or by any subsequent holder of this Note, agree to remain bound by the terms of this Note
  subsequent to any transfer, and agree that the terms of this Note may be fully enforced by any
  subsequent holder of this Note.

  Severability of Provisions - In the event that any portion of this Note is deemed unenforceable,
  all other provisions of this Note shall remain in full force and effect.

  Choice of Law - All terms and conditions of this Note shall be interpreted under the laws of the
  state of Ohio.


  Signed Under Penalty of Perjury, this 26th Day of June, 2020,


                             K


  Matthew Motil for
  NSEM Mansfield 2, LLC




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                                         JSpace Above This Line For Recording DateL

                                                        MORTGAGE

          Made on this ^5th- day of JUNE . 2020,
          Between

          TOBY OLIVER
                                                                                            (hereinafter "Mortgagee")
          And

          NSEM MANSFIELD 2, LLC
                                                                                           (hereinafter "Mortgagor")

          Whereas, MORTGAGOR by its Note (hereinafter the "NOTE") dated JUNE 25. 2020 is indebted to
          MORTGAGEE in the principal amount of $150,000.00 advanced by MORTGAGEE to MORTGAGOR,
          together with interest thereon at the rate(s) provided in the NOTE until the INDEBTEDNESS is paid in
          fall in the manner and at the times set forth in the NOTE, with the final payment of principal and interest,
          if not sooner paid, due and payable at the maturity date set forth in the NOTE, as the same may be
          amended, and containing other tenns and conditions, all ofwliich are specifically incorporated herein by
          reference; and

          Whereas, as a condition to extending the aforementioned INDEBTEDNESS to MORTOAGOR, the
          MORTGAGEE requires, and MORTGAGOR has agreed to secure the payment and performance of its
          obligations under the Note with this MORTGAGE.

          Now, Therefore, MORTGAGOR, in consideration of the INDEBTEDNESS and as security for the
          payment of the same, does hereby mortgage, grant and convey to the MORTGAGEE, its successors and
          assigns:

          All of MORTGAGOR'S right, title and interest in, to and under (i) the premises commonly referred to as
          860-904 ELM STREET, BUCYRUS, OHIO 44820 (i) as more particularly described in Exhibit A
          attached hereto and made a part hereof, together with all of the easements, rights of way, privileges,
          liberties, hereditaments, gores, streets, alleys, passages, ways, waters, watercourses, rights and
          appurtenances thereunto belonging or appertaining and all of the estate, right, title, interest, claim and
          demand whatsoever ofllie Mortgagor therein and in the public streets and ways adjacent thereto, eitlier at
          law or in equity, in possession or expectancy (collectively, the "Property"); and (ii) the structures and
          buildings, and all additions and improvements thereto, now or hereafter erected upon the Property
          (including all equipment constituting fixtures thereon) (collectively, the "Improvements", and
          together with the Property, the "MoUgaged Premises"),

          TO HAVE AND TO HOLD, the Mortgaged Premises unto the MoUgagee, its successors and/or
          assigns, to its own use forever in accordance with the provisions hereof.

          Provided, however, that if the MORTGAGOR shall pay to the MORTGAGEE the INDEBTEDNESS
          and shall fully perfonn each of the other covenants and agreements hereinafter set forth, then this
          Mongage and the estate hereby granted and conveyed shall become void.

          This Mortgage is executed and delivered subject to the following covenants and agreements:

          (1) MORTGAGOR shall promptly pay when due the INDEBTEDNESS according to the
                           NOTE and this Mortgage.

                                                                                                                            EXHIBIT




                                                                                                          Page 1 of 5


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          (2)        Until the INDEBTEDNESS is fiilly paid, MORTGAGOR shall: (a) pay and discharge.
                      when the same shall become due and payable, all taxes, assessments, sewer and water rents
                     and all other charges and claims assessed or levied from time to time by any lawfal
                     authority upon any part of the MORTGAGED PREMISES and which shall or might have
                     priority in lien or payment to tlie INDEBTEDNESS secured hereby, such payments to be
                     made directly to the person or entity to which payment is owed; (b) pay and discharge all
                     liens, claims or encumbrances which may be filed against the MORTGAGED PREMISES
                     and which might have priority in lien or payment to the INDEBTEDNESS secured hereby;
                     (c) provide and keep in effect, by paying the necessary premiums and charges thereon, such
                     policies of hazard and liability insurance as MORTGAGEE may from time to time require
                     on the improvements now or hereafter erected on the MORTGAGED PREMISES, with
                     loss payable clauses in favor of MORTGAGOR and MORTGAGEE, as their respective
                     interests may appear; and (d) promptly submit to MORTGAGEE evidence of the date and
                     punctual payment of all of tlie foregoing charges. In the event of loss, MORTGAGOR
                     shall give prompt notice to the insurance carrier and MORTGAGEE. Unless
                     MORTGAGEE and MORTGAGOR otherwise agree in writing, insurance proceeds shall
                     be applied to restoration or repair of the MORTGAGED PREMISES, if the restoration or
                     repair is economically feasible and MORTGAGEE'S security is not lessened. If the
                     restoration or repair is not feasible or if MORTGAGEE'S security would be lessened, the
                     insurance proceeds shall be applied to the FNDEBTEDNESS secured by this MoHgage,
                     whether or not then due, with any excess paid to MORTGAGOR. If MORTGAGOR
                     abandons the MORTGAOED PREMISES or docs not answer, within 30 days, a notice
                     from MORTGAGEE that the insurance canier has ofiered to settle a claim, then
                    MORTGAGEE may collect the insurance proceeds. MORTGAGEE may use the proceeds
                    to repair or restore the MORTGAGED PREMISES or to pay the INDEBTEDNESS
                    secured by this MORTAOEE and MORTGAGOR otherwise agree in writing, any
                    application of proceeds to principal shall not extend or postpone the due date of monthly
                    payments. If the MORTGAGED PREMISES are acquired by the MORTGAGEE Uirough
                    foreclosure, MORTGAGOR'S rights to any insurance policies and proceeds resulting from
                    damage to the MORTGAGED PREMISES prior to the acquisitions shall pass to
                    MORTGAGEE to the extent of the INDEBTEDNESS secured by this Mortgage
                    immediately prior to the acquisition.
          (3)       MORTGAGOR shall maintain all improvements subject to this Mortgage in good and
                    substantial repair, MORTGAGEE shall have the right to enter upon the MORTGAGED
                     PREMISES at any reasonable hour for the pmpose of inspecting the order, condition and
                    repair of the improvements erected thereon.

          (4)        MORTGAGOR covenants and agrees not to create, nor pemiit to accrue, upon all or any
                    part of the MORTGAGED PREMISES any debt, lien or charge which would be prior in
                    lien or payment to the lien of this Mortgage.

          (5)        In the event MORTGAGOR neglects or refuses to perfonn the covenants and agreements
                     contained in this Mortgage, then MORTGAGEE may, but shall not be required to, do so,
                    and make whatever advances are necessary to protect the value of the MORTGAGED
                    PREMISES and MORTGAGEE'S rights in the MORTGAGED PREMISES, provided that
                    no such payment by the MORTGAGEE shall be considered a waiver or release of any
                    remedy MORTGAGEE may have against MORTGAGOR. MORTGAGEE'S actions may
                    include paying taxes, assessments, maintenance charges, insurance premiums, costs or
                    expenses for the protection of the MORTGAGED PREMISES or the lien of this Mortgage
                    or paying expenses, including attorney's fees, incurred by reason of the MORTGAGOR'S
                    default. Any advances made by MORTGAGEE hereunder shall become additional
                    INDEBTEDNESS of MORTGAGOR secured by this Mortgage. Unless MORTGAGEE
                    agrees in writing to other terms of payment, these advances shall bear interest from (lie date
                    of disbursement at the rate(s) set fonh in the NOTE and shall be payable, with interest,
                    upon notice from MORTGAGEE to MORTGAGOR requesting payment.

          (6)       Should the MORTGAGED PREMISES or any part thereof be taken oi^damaged by reason
                    of any public condemnation proceeding or similar action, the MORTGAGEE shall be
                    entitled to all compensation, awards, and any other payment or relieftherefore to the extent
                    of the outstanding INDEBTEDNESS and shall be entitled, at its option, to commence,
                    appear in, and prosecute in its own name, any action or proceeding or to make any
                    compromise or senlement in connection with such taking or damage. All such
                    compensation, awards, damages, rights of action, and proceeds are hereby assigned to the



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                          MORTGAGEE, who may, after deducting there from its expenses, including anomey's
                         fees, release any monies received by it or apply the same to any INDEBTEDNESS secured
                         hereby.

          (7) If all or any part of the MORTGAGED PREMISES or any interest in it is sold or
                         transfenred, or if a beneficial interest in MORTGAGOR is sold or transferred and
                         MORTGAGOR is not a natural person, without MORTGAGEE'S prior written consent,
                         MORTGAGEE may, at its option, require immediate payment in full of all
                         INDEBTEDNESS secured by this Mortgage. This option shall not be exercised if
                         prohibited by law as of the date of this Mortgage. If MORTGAGEE exercises this option,
                         MORTGAGEE shall give MORTGAGOR written notice of acceleration. This notice shall
                         provide a period of not less than 30 days from the date the notice is mailed within which
                         MORTGAGOR must pay the entire INDEBTEDNESS. If MORTGAGOR fails to pay
                         these sums prior to the expiration of the 30-day period, MORTGAGEE may invoke any
                         remedy permitted by this Mortgage without further notice or demand on MORTGAGOR.

          (8) The following shall constitute Events of Default under this Mortgage: (a)
                         MORTGAGOR'S failure to pay any installment of principal or interest in accordance with
                         the NOTE; (b) MORTGAGOR'S failure to pay any other sum required to be paid in
                         accordance \vith the NOTE or this Mortgage, when the same is due and payable; or (c)
                         MORTGAGOR'S failure to perform any covenant or agreement in the NOTE or this
                         Mortgage. Ifone or more of the foregoing Events of Default occurs, MORTGAGEE may,
                          at its option, after any notice and opponunity to cure required by law and otherwise without
                         notice and opportunity to cure, declare the entire unpaid balance of the nWEBTEDNESS
                         to be immediately due and payable. MORTGAGEE may immediately institute an action
                         of mortgage foreclosure or take any other legal action for the enforcement of this Mortgage,
                         and proceed to final judgment and execution thereon for the INDEBTEDNESS, costs of
                         suit and an attorney's commission for collection of ten percent (10.0%) but not
                         less than $2,500.00. Interest at the highest rate provided in the NOTE shall continue to
                         accrue on any judgment obtained by MORTGAGEE, until actual payment is made of the
                         fall amount due MORTGAGEE. MORTGAOR hereby waives and releases all benefits
                         that might accrue to MORTGAGOR by virtue of any present or future laws exempting the
                         MORTGAGED PREMISES, or any part of the proceeds arising from any sale thereof,
                         from attachment, levy or sale under execution, or providing for any stay of execution,
                         exemption from civil process, or extension of time for payment.

          (9) The covenants in this Mortgage sliall bind, and ils benefits shall inure to, the
                     MORTGAGOR and the MORTGAGEE and their respective heirs, executors,
                      administrators, successors and assigns, subject to tlie provisions of Paragraph 8.

          (10) Ifthis Mortgage is executed by more than one person, the undertakings and liability of each
                         shall be joint and several.

          (11) Any notice which is mailed certified mail to MORTGAGOR or to the person(s) who
                       (is)(are) the tlien ovvner(s) of the MORTGAGED PREMISES at the address of the
                       MORTGAGED PREMISES or at such other address as MORTGAGOR shall designate to
                         MORTGAGEE in \vriting, shall be suflTicient notice when required under this Mortgage.

          (12) MORTGAGEE'S rights and remedies as provided herein or in the NOTE shall be
                    cumulative and concurrent, and may be pursued singly, successively or together, at the sole
                    discretion of MORTGAGEE, and may be exercised as often as the occasion therefor shall
                    occur; and the failure to exercise any right or remedy shall in no event be construed as a
                    waiver by MORTGAGEE or release of the same.

          (13) In the event any temi or provision oftliis Mortgage or the application thereof to any person
                         or circumstances shall, to any extent be invalid and unenforceable, the remainder of this
                         Mortgage, or its application other than to that which is held invalid or unenforceable, shall
                         not be affected thereby, and each term and provision hereof shall be valid and enforceable
                         to the fullest extent permitted by law.

          This Mortgage shall be governed by the law of Ohio, in wliich the MORTGAGED PREMISES are
          located. This provision shall not limit the applicability of federal law to this Mortgage.




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          Executed this 26th Day of JUNE                     2020


          For the Mortgagor,


          By: Matthew Motil


          ACKNOWLEDGMENT STATE OF Qh'.O                                COUNTY OF C^yAbft-A
                                                                                   ^ 6^
         On this 26th day of JUNE _^ 2020                                    personally appeared before me,
            Matthew Motil:

          known to me or provided sufficient identification, to be the person(s) whose name(s) are subscribed to the
          within instrument and acknowledged that they executed the same for the purposes therein contained.

          t^rtU^. M KtAtt _ (seal)
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          My commission expires: 12.) )6 /2o2J
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         Document Prepared by Matthew Motil                          ^
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                                                  Exhibit A
                                               Legal Description

          Situated in the State of Ohio County ofCRAWFORD and in the City ofBUCYRUS
          Located at:
          860-904 ELM STREET, BUCYRUS, OHIO 44820
          With the legal description:
          Parcel No. -XX-XXXXXXX.000




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                                                       202100218662' ~" Pages:"10"
                                                                                            Ohio
                                                       Julie A. Smith, Recorder
                                                       04/13/2021_tp:08 AM Recording Fees: $98.00
                                                       AFDTFACTS OR 1044 / p166 - p175~




                     AFFIDAVIT OF FACTS RELATING TO TITLE
                                 O.R.C. 5301.252



STATE OF FLORIDA )
                ) SS:
COUNTY OF LEE )


       I, TOBY OLIVER, after being first duly sword, state as follows:

       1. I am over the age of eighteen and am competent to testify as to the matters set forth
herein.

      2. This Affidavit is made pursuant to O.R.C. 5301.252, and pertains to the property
commonly known as 860-904 Elm Street, Bucyms, Ohio 44820 (the "Property") legally described
as follows:



      SITUATED IN THE CITY OF B JCYRUS, COUNTY OF CRAWFORD AND STATE
      OF OHIO:


      BEING INLOT 750 OF THE REVISED INLOTS OF SAID CITY.


      PARCEL NO. XX-XXXXXXX.00
      PROPERTY ADDRESS: 860-904 ELM STREET, BUCYRUS, OHIO 44820




                                                                                                   T
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        3. Title to the Property is currently held in the name ofNSEM Mansfield 2, LLC

 ("NSEM").

        4. On approximately June 25. 2020,1 entered into a lending transaction with NSEM

 whereby a mortgage upon the real property described above to secure the sum of One Hundred

Fifty Thousand Dollars ($150,000.00)("Mortgage") lent was to be filed with the Crawford Coimty

 Recorder.


        5. A true and accurate copy of the Mortgage supplied by NSEM is attached hereto as

Exhibit "A".

        6. I was issued a Promissory Note for the Mortgage on June 26, 2020, a true and

accurate copy of which is attached hereto as "Exhibit B".

        7. I have not been provided an unrecorded complete original or a copy of a mortgage

upon the Property.

        8. I have not been provided an original or copy of a mortgage upon the Property

recorded in the Crawford County Records.

       9. I cannot locate a notation of the Mortgage being recorded on the online records of

the Crawford County Records.

        10. I am not aware of a mortgage to Mortgagee upon the Property.

        11. I claim an equitable mortgage upon the Property in the name of Toby Oliver; and

        12. I state that it is necessary to record and claim a mortgage interest on the Property

to protect the secured status bargained for in the loan transaction.

                                                                                   1




                                                      Bw
                                                               [oby Oliver




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 STATE OF FLORIDA, COUNTY OF LEE, ss:

         The foregoing instruction was sworn to before me and subscribed in my presence the j/
 day of March, 2021, by Toby Oliver.

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I




                                                                                                                     EXHIBIT A




                                             JSpace Above This Line For Recording Date].
                                                            MORTGAGE

               Made on this 25tl day of JUNE .2020,
               Between

               TOBY OLIVER
                                                                                                (hereinafter "Mortgagee")
               And

               NSEM MANSFIELD 2, LLC
                                                                                                (hereinafter "Mortgagor")

              Whereas, MORTGAGOR by its Note (hereinafter the "NOTE") dated JUNE 25. 2020 is indebted to
              MORTGAGEE in the principal amount of $150,000.00 advanced by MORTGAGEE to MORTGAGOR,
              together with interest thereon al the rate(s) provided in the NOTE until the INDEBTEDNESS is paid in
              full in the manner and at the times set forth in the NOTE, with the final payment of principal and interest,
              if not sooner paid, due and payable at the maturity date set forth in the NOTE, as the same may be
              amended, and containing other terms aiid conditions, all ofwliich are specifically incorporated herein by
               reference; and

              Whereas, as a condition to extending the aforementioned INDEBTEDNESS to MORTGAGOR, the
              MORTGAGEE requires, and MORTGAGOR has agreed to secure the payment and perfonnance of its
              obligations under the Note with this MORTGAGE.

              Now, Therefore, MORTGAGOR, in consideration of the INDEBTEDNESS and as security for the
              payment of the same, does hereby mongage, grant and convey to the MORTGAGEE, its successors and
              assigns:

              All of MORTGAGOR'S right, title and interest in, to and under (i) the premises commonly referred to as
              860.904 ELM STREET, BUCYRUS, OHIO 44820 (i) as more particularly described in Exhibit A
              attached hereto and made a part hereof, together with all of the easements, rights of way, privileges,
               liberties, hereditaments, gores, streets, alleys, passages, ways, waters, watercourses, rights and
              appurtenances thereunto belonging or appenaining and all of the estate, right, title, interest, claim and
              demand whatsoever oftlie Mortgagor therein and in the public streets and ways adjacent thereto, either at
              law or in equity, in possession or expectancy (collectively, the "Property"); and (ii) the structures and
              buildings, and all additions and improvements thereto, now or hereafter erected upon the Property
              (including all equipment constituting fixtures thereon) (collectively, the "Improvements", and
              together with the Property, the "Mongaged Premises");
              TO HAVE AND TO HOLD, the Mortgaged Premises unto the Mortgagee, its successors and/or
              assigns, to its own use forever in accordance with the provisions hereof.
              Provided, however, that if the MORTGAGOR shall pay to the MORTGAGEE the INDEBTEDNESS
              and shall fully perform each of the other covenants and agreements hereinafter sel forth, then this
              Mortgage and the estate hereby granted and conveyed shall become void.
              This Mortgage is executed and delivered subject to the following covenants and agreements:
              (1) MORTGAGOR shall promplty pay when due the INDEBTEDNESS according to the
                                NOTE and this Mortgage.




                                                                                                             Page 1 of 5

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           (2) Until the INDEBTEDNESS is fully paid, MORTGAGOR shall: (a) pay and discharge,
                           when the same shall become due and payable, all taxes, assessments, sewer and water rents
                          and all other charges and claims assessed or levied from time to time by any lawful
                          authority upon any part of the MORTGAGED PREMISES and which shall or might have
                          priority in lien or payment to the INDEBTEDNESS secured hereby, such payments to be
                          made directly to the person or entity to which payment is owed; (b) pay and discharge all
                          liens, claims or encumbrances which may be filed against the MORTGAGED PREMISES
                          and which might have priority in lien or payment to the FNDEBTEDNESS secured hereby;
                          (c) provide and keep in effect, by paying the necessary premiums and charges thereon, such
                          policies of hazard and liability insurance as MORTGAGEE may from time to time require
                          on the improvements now or hereafter erected on the MORTGAGED PREMISES, with
                          loss payable clauses in favor of MORTGAGOR and MORTGAGEE, as their respective
                          interests may appear; and (d) promptly submit to MORTGAGEE evidence of the date and
                          punctual payment of all of the foregoing charges. In the event of loss, MORTGAGOR
                          shall give prompt notice to the insurance carrier and MORTGAGEE. Unless
                          MORTGAGEE and MORTGAGOR otherwise agree in \vriting, insurance proceeds shall
                          be applied to restoration or repair ofthe MORTGAGED PREMISES, if the restoration or
                          repair is economically feasible and MORTGAGEE'S security is not lessened. If the
                          restoration or repair is not feasible or if MORTGAGEE'S security would be lessened, the
                          insurance proceeds shall be applied to the INDEBTEDNESS secured by this Mortgage,
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                          from MORTGAGEE that the insurance carrier has offered to settle a claim, then
                          MORTGAGEE may collect the insurance proceeds. MORTGAGEE may use the proceeds
                          to repair or restore the MORTGAGED PREMISES or to pay the INDEBTEDNESS
                          secured by this MORTAGEE and MORTGAGOR otherwise agree in writing, any
                          application of proceeds to principal shall not extend or postpone the due date of monthly
                          payments. If the MORTGAGED PREMISES are acquired by the MORTGAGEE tlirougli
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                          damage to the MORTGAGED PREMISES prior to the acquisitions shall pass to
                          MORTGAGEE to the extent of the INDEBTEDNESS secured by this Mortgage
                          immediately prior to the acquisition.

          (3) MORTGAGOR shall maintain all improvements subject to this Mongage in good and
                    substantial repair, MORTGAGEE shall have the right to enter upon the MORTGAGED
                    PREMISES at any reasonable hour for the purpose of inspecting the order, condition and
                          repair of the improvements erected thereon.

          (4) MORTGAGOR covenants and agrees not to create, nor permit to accrue, upon all or any
                    part of the MORTGAGED PREMISES any debt, lien or charge which would be prior in
                          lien or payment to the lien of this Mongage.

          (5) In the event MORTGAGOR neglects or refuses to perform the covenants and agreements
                         contained in this Mortgage, then MORTGAGEE may, but shall not be required to, do so,
                         and make whatever advances are necessary to protect the value of the MORTGAGED
                         PREMISES and MORTGAGEE'S rights in tlie MORTGAGED PREMISES, provided that
                          no such payment by the MORTGAGEE shall be considered a waiver or release of any
                         remedy MORTGAGEE may have against MORTGAGOR. MORTGAGEE'S actions may
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                         of disbursement at the rate(s) set forth in the NOTE and shall be payable, with interest,
                         upon notice from MORTGAGEE to MORTGAGOR requesting payment.
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                          of any public condemnation proceeding or similar action, the MORTGAGEE shall be
                         entitled to all compensation, awards, and any other payment or relief therefore to the extent
                         of the outstanding INDEBTEDNESS and shall be entitled, at its option, to commence,
                         appear in, and prosecute in its own name, any action or proceeding or to make any
                         compromise or settlement in connection with such taking or damage. All such
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                           MORTGAGEE, who may, after deducting there from its expenses, including attorney's
                           fees, release any monies received by it or apply the same to any INDEBTEDNESS secured
                           hereby.

           (7) If all or any part of the MORTGAGED PREMISES or any interest in it is sold or
                           transferred, or if a beneficial interest in MORTGAGOR is sold or transferred and
                          MORTGAGOR is not a natural person, without MORTGAGEE'S prior written consent,
                          MORTGAGEE may, at its option, require immediate payment in full of all
                          INDEBTEDNESS secured by this Mongage. This option shall not be exercised if
                          prohibited by law as of the date ofthis Mortgage. If MORTGAGEE exercises this option,
                          MORTGAGEE shall give MORTGAGOR written notice of acceleration. This notice shall
                          provide a period of not less than 30 days from the date the notice is mailed within which
                          MORTGAGOR must pay the entire INDEBTEDNESS. If MORTGAGOR fails to pay
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           (8) The followng shall constihite Events of Default under tliis Mortgage: (a)
                       MORTGAGOR'S failure to pay any installment of principal or interest in accordance with
                       the NOTE; (b) MORTGAGOR'S failure to pay any other sum required to be paid in
                        accordance with the NOTE or this Mortgage, when the same is due and payable; or (c)
                       MORTGAGOR'S failure to perform any covenant or agreement in the NOTE or this
                       Mortgage. If one or more of the foregoing Events of Default occurs, MORTGAGEE may,
                       at its option, after any notice and opportunity to cure required by law and otherwise without
                       notice and opportunity to cure, declare the entire unpaid balance of the FNDEBTEDNESS
                       to be immediately due and payable. MORTGAGEE may immediately institute an action
                       of mortgage foreclosure or take any other legal action for the enforcement of this Mortgage,
                       and proceed to final judgment and execution thereon for the INDEBTEDNESS, costs of
                       suit and an attorney's commission for collection of ten percent (10.0%) but not
                       less than $2,500.00. Interest at the highest rate provided in the NOTE shall continue to
                       accrue on any judgment obtained by MORTGAGEE, until actual payment is made of the
                       fall amount due MORTGAGEE. MORTGAOR hereby waives and releases all benefits
                       that might accme to MORTGAGOR by virtue of any present or future laws exempting the
                       MORTGAGED PREMISES, or any pan of the proceeds arising from any sale thereof,
                       from attachment, levy or sale under execution, or providing for any stay of execution,
                          exemption from civil process, or extension oftime for payment.
           (9) The covenants in this Mortgage shall bind, and its benefits shall inure to, the
                      MORTGAGOR and the MORTGAGEE and their respective heirs, executors,
                      administrators, successors and assigns, subject to the provisions of Paragraph 8.
          (10) If this Mongage is executed by more than one person, the undertakings and liability ofeach
                          shall be joint and several.

          (11) Any notice which is mailed certified mail to MORTGAGOR or to the person(s) who
                          (is)(are) the then owner(s) of the MORTGAGED PREMISES at the address of the
                          MORTGAGED PREMISES or at such o-Aer address as MORTGAGOR shall designate to
                          MORTGAGEE in writing, shall be sufficient notice when required under this Mortgage.
          (12) MORTGAGEE'S rights and remedies as provided herein or in the NOTE shall be
                    cumulative and concurrent, and may be pursued singly, successively or together, at the sole
                    discretion of MORTGAGEE, and may be exercised as often as the occasion therefor shall
                    occur; and the failure to exercise any right or remedy shall in no event be constmed as a
                          waiver by MORTGAGEE or release of the same.

          (13) Intheeventany term or provision of this Mortgage or the application thereof to any person
                          or circumstances shall, to any extent be invalid and unenforceable, the remainder of this
                          Mortgage, or its application other than to that whicli is held invalid or unenforceable, shall
                          not be affected thereby, and each term and provision hereof shall be valid and enforceable
                          to the fullest extent permitted by law.

          This Mongage shall be governed by the law of Ohio, in which the MORTGAGED PREMISES are
          located. This provision shall not limit the applicability of federal law to this Mortgage.




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          Executed this 29th Day of JUNE                      2020


           For the Mortgager,


          By: Matthew Mdtil


          ACKNOWLEDGMENT STATE OF Qh',0                                    COUNT*'OF C.y^h^A.
          Ontliis26th ^y of JUNE                            2020                 personally appeared before me,
               Matthew Motil;
                                                                                     .*



          known to me or provided sufficient identification, to be die person(s) whose name(s) are subscribed to the
          within instrumen and acknowledged that they executed (he same for the purposes therein contained.


          ^ruAJQ^ /v\' J^L.                       .(seal)
          Notary Public j                                                  ^wml!l

          My commission expires: t2))6/<to2J
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          Document Prepared by Matthew Motil                     &       ^                y
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                                                   Exhibit A
                                                Legal Description

           Situated in the State of Ohio County ofCRAWFORD and in the City ofBUCYRUS
           Located at:
           860-904 ELM STREET, BUCYRUS, OHIO 44820

           With the legal description:
           Parcel No.-XX-XXXXXXX.000




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                                                                                                  EXHIBIT B


                                           Promissory Note

   On this date of June 26, 2020, in return for valuable consideration received, the undersigned,
   NSEM Mansfield 2, LLC (hereinafter "Borrower") jointly and severally promises to pay Toby
   Oliver (hereinafter "Lender"), the sum of $ 150,000.00 together with interest thereon, as stated in
   the tenns of this note.

   Terms of Repayment - This loan shall be repaid under the following terms:

   $150,000.00 to be financed at 15% simple interest payed in arrears - Monthly payments of
   $1,875.00. 1st prorated payment on August 1st, 2020, last payment on February 1, 2021 with a
   balloon of $150,000.00

   Collateral - The following property will be used as collateral -
   860-904 Elm Street, Bucyrus, Ohio 44820

   Payable On Demand - The entire unpaid principal and accrued interest thereon,
   if any, shall become due and payable on demand by the holder of this note 30 days
   after such demand is made in writing.

   Place of Payment - all payments due under this note shall be made by ACH or mailed to
    or at such other place as the holder of this Note may designate in writing.

   Borrower's Address - The Borrower shall provide to provide prompt written notice to the
   Lender of any change of address.

   Prepayment - This Note may be prepaid in whole or in part at any time without premium or
   penalty. All prepayments shall first be applied to interest, and then to principal payments in the
   order of their maturity.

   Default - In the event of default, the borrower[s] agree to pay all costs and expenses incurred by
   the Lender, including all reasonable attorney fees (including both hourly and contingent attorney
   fees as permitted by law) for the collection of this Note upon default, and including reasonable
   collection charges (including, where consistent with industry practices, a collection charge set as
   a percentage of the outstanding balance of this Note) should collection be referred to a
   collection agency.

   The note holder understands and agrees that regardless of any other provisions contained herein,
   this note is a non-recourse note and the holder's sole recourse in the event of a default shall be
   against the property securing this note and not against the borrower.
   Acceleration of Debt - In the event that the borrower fails to make any payment due under the
   terms of this Note, or breach any condition relating to any security, security agreement, note,
   mortgage or lien granted as collateral security for this Note, seeks relief under the Bankruptcy
   Code, or suffers an involuntary petition in bankruptcy or receivership not vacated within thirty




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     (30) days, the entire balance of this Note and any interest accrued thereon shall be immediately
     due and payable to the holder of this Note.

     Joint and Several Liability - All borrowers identified in this Note shall be jointly and severally
     liable for any debts secured by this Note.

     Modification - No modification or waiver of any of the temis of this Agreement shall be allowed
     unless by written agreement signed by both parties. No waiver of any breach or default
     hereunder shall be deemed a waiver of any subsequent breach or default of the same or similar
     nature.


     Transfer of the Note - The boirowers hereby waive any notice of the transfer of this Note by the
     Lender or by any subsequent holder of this Note, agree to remain bound by the terms of this Note
     subsequent to any transfer, and agree that the terms of this Note may be fully enforced by any
     subsequent holder of this Note.

     Severability of Provisions - In the event that any portion of this Note is deemed unenforceable,
     all other provisions of this Note shall remain in full force and effect.
     Choice of Law - All terms and conditions of this Note shall be interpreted under the laws of the
     state of Ohio,


     Signed Under Penalty of Perjury, this 26* Day of June, 2020,


                                 ^


     Matthew Motil for
     NSEM Mansfield 2, LLC




                                                                                         202100218662
                                                                      BRENNAN IV1ANNA DIAMOND
                                                                      300 PUBLIC SQUARE
                                                                      SUITE 3270
                                                                      CLEVELAND, OH 44114




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